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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS

NAVY SEALS 1-3, et al.,
                            Plaintiffs,
       v.                                                   Case No. 4:21-cv-01236-O
LLOYD AUSTIN, III, in his official capacity as
Secretary of Defense, et al.,
                            Defendants.



                DEFENDANTS’ APPENDIX IN SUPPORT OF THEIR
               OPPOSITION TO PLAINTIFFS’ EMERGENCY MOTION


                                          Table of Appendix
   Bates Stamps                                      Description
 App0001-0008         Ex 1 - Powell Email Thread of May 31, 2022 (redacted to remove names
                      of individual service members not previously on the docket) with
                      attachments:
 App0009-0064             Attachment: Consolidated DOD COVID-19 Force Health Protection
                                        Guidance
 App0065-0068             Attachment: Implementation of Consolidated DOD COVID-19
                                        Force Health Protection Guidance
 App0069-0073         Ex. 2 - NAVADMIN 130/22


Dated: June 6, 2022                            Respectfully submitted,

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                                               Principal Deputy Assistant Attorney General

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                                               Director, Federal Programs Branch

                                               ANTHONY J. COPPOLINO
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                                               /s/Amy E. Powell
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Case 4:21-cv-01236-O Document 172 Filed 06/06/22           Page 2 of 75 PageID 5172


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                  EXHIBIT 1




                                                                      App0001
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you disagree, we may be able to seek some clarification of the order on this point. We may need to
confer further internally on this though in light of the appeal.

Travel
        My understanding of the Order is that decisions regarding travel, training and other
operational judgments may take into account vaccination status, but it is not true that “the Navy is
denying permission for unvaccinated service members to travel regardless of the circumstances.”
Rather, in general, unvaccinated individuals are limited to “mission-critical” official travel, a
fundamentally operational judgment. The current Force Health Protection Guidance and the Navy
implementation memorandum is attached. As you can see, there are many circumstances in which
unvaccinated service members are permitted to travel, and permissions may be sought on a case-by-
case basis as well.

Reserve Duty.
        Finally, it is my understanding that the Navy is not, as a blanket matter, barring Reservists
from attending drill or annual training if they are unvaccinated. Unvaccinated Reserve members
may perform annual training, on-site, at supported commands depending upon travel restrictions and
mission critical determinations related to duties contemplated during the training period. There is
additional guidance forthcoming soon, that we expect may provide additional flexibility with respect
to reserve duty for unvaccinated service members.

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From: Heather Hacker <heather@hackerstephens.com>
Sent: Friday, May 27, 2022 5:47 PM
To: Powell, Amy (CIV) <Amy.Powell@usdoj.gov>; Andrew Stephens <andrew@hackerstephens.com>
Cc: Mike Berry <mberry@firstliberty.org>; Danielle Runyan <drunyan@firstliberty.org>; Justin
Butterfield <jbutterfield@firstliberty.org>; Holly Randall <hrandall@firstliberty.org>; Snyder,
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Hacker <dhacker@firstliberty.org>; Carmichael, Andrew E. (CIV) <Andrew.E.Carmichael@usdoj.gov>
Subject: [EXTERNAL] RE: withdrawals of RARs

Amy,

It sounds like the Navy’s position is now that involuntary separation of individuals withdrawing their
RA requests will proceed despite its earlier guidance, but we need confirmation that will be
announced as a policy change in order to avoid having to go to the Court on that point. Dealing with
these issues on a piecemeal basis is not practical and is not fair to the individual servicemembers.
(Though while we are on the topic of individuals, Caleb Johnson has also tried to rescind his RA
request in order to separate and is being told that he cannot. He also has a particularly urgent
situation involving foster children, so we would that appreciate you resolving his separation.)


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separation of an individual who withdraws an RAR is considered an “involuntary” separation for
misconduct. Happy to discuss further if you have questions or any objections. Again, if there is a
dispute about the scope of the injunction or its application to particular individuals, please reach out
to discuss and we may be able to come to some agreement.

Thanks,

Amy

Amy Elizabeth Powell
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From: Heather Hacker <heather@hackerstephens.com>
Sent: Friday, May 27, 2022 10:23 AM
To: Powell, Amy (CIV) <Amy.Powell@usdoj.gov>; Andrew Stephens <andrew@hackerstephens.com>
Cc: Mike Berry <mberry@firstliberty.org>; Danielle Runyan <drunyan@firstliberty.org>; Justin
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Hacker <dhacker@firstliberty.org>; Carmichael, Andrew E. (CIV) <Andrew.E.Carmichael@usdoj.gov>
Subject: [EXTERNAL] RE: withdrawals of RARs

Amy,

The SJA newsletter states, “Because of the class definitions, the above class analysis (that being
‘Simply put, Service Members within the class definition are stuck there’) remains true even if a
Service Member withdraws/rescinds their religious accommodation.” You are now saying that
someone may withdraw their RA request and be separated as no longer part of the class. That is the
opposite of what the SJA says, so I am asking you to confirm there has been (or will be) a change in
policy as outlined in the SJA newsletter. We have heard from several people who have this problem.

I also realize the Navy’s distinction between what it classifies as “Voluntary Separation” and
“Involuntary Separation.” The issue was with people choosing “Involuntary Separation”—which is
voluntary under the plain meaning of that word, which is how the Court was using it. Our position is
that service members who choose to accept “Involuntary Separation” may do so and the Navy
should permit that or will be in violation of the injunction.

Heather



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Amy,

As we told you and Drew on the phone, the order expressly allows for individuals to voluntarily leave
service. That would also include individuals who choose to withdraw their RA request. So yes, please
allow this service member to separate, in addition to any other servicemember who is choosing
separation. We have received multiple contacts like this, so for our records, could you please let us
know who this service member is?

I note that this seems to be a reversal of the policy announced in the SJA newsletter, which expressly
contradicts your below statement. Is the Navy now repudiating the guidance being given in that
newsletter, and is it planning on issuing revised guidance? If not, we are preparing to take this to the
Court.

Heather


From: Powell, Amy (CIV) <Amy.Powell@usdoj.gov>
Sent: Thursday, May 26, 2022 9:54 AM
To: Andrew Stephens <andrew@hackerstephens.com>
Cc: Heather Hacker <heather@hackerstephens.com>; Mike Berry <mberry@firstliberty.org>;
Danielle Runyan <drunyan@firstliberty.org>; Justin Butterfield <jbutterfield@firstliberty.org>; Holly
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Avallone, Zachary A. (CIV) <Zachary.A.Avallone@usdoj.gov>; Yang, Catherine M (CIV)
<Catherine.M.Yang@usdoj.gov>; Carmichael, Andrew E. (CIV) <Andrew.E.Carmichael@usdoj.gov>
Subject: withdrawals of RARs

Counsel:

The Navy has started receiving requests from service members who wish to withdraw their religious
accommodation requests and complete separation from the Navy. One such request was
forwarded to me today because the individual is particularly eager to withdraw the request quickly
in light of the fact he has a job and house lined up following the anticipated separation. I assume
you have no objection to us accepting the withdrawal of his religious accommodation and processing
him for separation accordingly? The Court order expressly contemplates such withdrawals as a
possibility. Let me know if you need more information or if you object as soon as practicable,
preferably today.

(This is not the only such request the Navy has received. And we hope to move forward on a similar
basis with respect to the others.)

Thanks

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                                                                                                  App0007
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    Consolidated Department of Defense Coronavirus Disease 2019
                 Force Health Protection Guidance
        This guidance issued by the Under Secretary of Defense for Personnel and Readiness
(USD(P&R)) presents a uniform and consolidated DoD policy for the Department’s response to
the coronavirus disease 2019 (COVID-19) pandemic and serves as the DoD COVID-19
Workplace Safety Plan.1 Implementation of this guidance will comply with: 1) applicable court
orders, Presidential directives, and Office of Management and Budget (OMB) and Safer Federal
Workforce Task Force guidance; and 2) applicable labor obligations to the extent such
obligations do not hinder the DoD Components’ ability to carry out their missions during this
public health emergency. Prior delegations and exceptions made pursuant to the rescinded
references remain valid unless rescinded by the authorizing official. Individual sections of this
guidance will be updated as necessary by the USD(P&R).

        This guidance will be posted, and updated as necessary, at:
https://www.defense.gov/Explore/Spotlight/Coronavirus/Latest-DOD-Guidance/. DoD
Components should monitor this website to obtain the most current version of this guidance.
Changes from the previous version will be identified in bold and italics.

       Furthermore, this guidance consolidates, incorporates, and rescinds the following policy
and guidance:

           x   Secretary of Defense Memorandum, “Guidance for Commanders’ Risk-Based
               Responses and Implementation of the Health Protection Condition Framework
               During the Coronavirus Disease 2019 Pandemic,” April 29, 2021
           x   Secretary of Defense Memorandum, “Use of Masks and Other Public Health
               Measures,” February 4, 2021
           x   Secretary of Defense Memorandum, “Updated Conditions-based Approach to
               Coronavirus Disease 2019 Personnel Movement and Travel Restrictions.”
               March 15, 2021
           x   Secretary of Defense Memorandum, “Way Forward for SARS-CoV-2 Testing Within
               the Department of Defense,” April 29, 2021
           x   Deputy Secretary of Defense Memorandum, “Updated Coronavirus Disease 2019
               Guidance Related to Travel and Meetings,” September 24, 2021
           x   Deputy Secretary of Defense Memorandum, “Mandatory Coronavirus Disease 2019
               Vaccination of DoD Civilian Employees,” October 1, 2021
           x   Under Secretary of Defense Memorandum, “Administrative Leave for Coronavirus
               Disease 2019 Vaccination of Department of Defense Employees,” April 14, 2021
           x   Under Secretary of Defense Memorandum, “Force Health Protection Guidance for
               the Novel Coronavirus,” January 30, 2020, and all supplements.
           x   Under Secretary of Defense Memorandum, “Civilian Personnel Guidance for DoD
               Components in Responding to Coronavirus Disease 2019,” March 8, 2020


1
    Executive Order (EO) 13991, “Protecting the Federal Workforce and Requiring Mask-Wearing,” January 20, 2021.



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       x   Under Secretary of Defense Memorandum, “Updated Guidance for Mask and
           Screening Testing for all Department of Defense Installations and Other Facilities,”
           March 1, 2022

Note: The Deputy Secretary of Defense approved the rescission of listed Deputy Secretary of
Defense and Secretary of Defense memoranda and consolidation of these references into this
guidance in the Deputy Secretary of Defense Memorandum, “Updated Coronavirus Disease 2019
Guidance Related to Travel and Meetings,” September 24, 2021. This September 24, 2021
memorandum authorized the USD(P&R) to rescind memoranda issued by the Secretary of
Defense or the Deputy Secretary of Defense for purposes of updating and consolidating force
health protection guidance on travel, meetings, or any other COVID-19 personnel- or health-
related matter.




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                                     EXECUTIVE SUMMARY
        The DoD is committed to providing safe working environments across the entire DoD
enterprise, which consists of an approximately 2.9 million-person global workforce deployed or
stationed in nearly 150 countries, including military Service members and their families, and
DoD civilian and contractor personnel that work in a highly complex and large number of
diverse and unique environments. This force health protection (FHP) Guidance (“Guidance”)
was developed to protect the DoD workforce, contractor personnel, other occupants, and visitors
(collectively referred to as “personnel”) before, during, and after our orderly and final return to
the physical workplace (“final reentry”). The Guidance is intended to meet the direction of the
President’s EOs2 and guidance from the Safer Federal Workforce Task Force (“Task Force”) and
OMB,3, 4 and articulate steps the DoD has been and will be taking to halt the spread of COVID-
19.

        Consistent with Task Force and OMB guidance, this Guidance includes policies and
procedures that incorporate the best available data and science-based measures and activities that
focus on health and safety and on workplace operations. DoD uses the latest guidance from the
Centers for Disease Control and Prevention (CDC), and requirements from the Occupational
Safety and Health Administration (OSHA) and other relevant Federal agencies as the starting
point for developing COVID-19 policy and guidance.

       The Department began publishing FHP guidance and policy to address COVID-19 in
January 2020. In February 2021, the Secretary of Defense directed the review of all guidance
and policy memoranda previously issued for COVID-19.5 The review was completed in April
2021, and subsequent updates align DoD COVID-19 policy and guidance with current Task
Force, OMB, CDC, and OSHA guidance as appropriate.

        The DoD COVID-19 Task Force is responsible for recommending updated DoD COVID-
19 policy. The Deputy Secretary of Defense and the Vice Chairman of the Joint Chiefs of Staff
co-chair the DoD COVID-19 Task Force which assembles as needed for meetings virtually and
in person and includes representatives from senior leadership across the Department, including
the Secretaries of the Military Departments (MILDEPs), Under Secretaries of Defense, and
Combatant Commanders.

        DoD has long recognized the threat posed by pandemics and disease outbreaks and has
previously issued guidance, planning, and policy documents to prepare for and respond to such
threats. The DoD also recognizes that successfully managing the COVID-19 pandemic requires

2
  EO 14042, “Executive Order on Ensuring Adequate COVID Safety Protocols for Federal Contractors,”
September 9, 2021; EO 14043, “Executive Order on Requiring Coronavirus Disease 2019 Vaccination for Federal
Employees,” September 9, 2021.
3
  Documents from the Safer Federal Workforce Task Force are available at:
https://www.saferfederalworkforce.gov/overview/.
4
  Office of Management and Budget Memorandum, Office of Personnel Management, and General Services
Administration, M-21-25, “Integrating Planning for A Safe Increased Return of Federal Employees and Contractors
to Physical Workplaces with Post-Reentry Personnel Policies and Work Environment,” June 10, 2021
5
  Secretary of Defense Memorandum, “Strategic Review and Reissuance of All Coronavirus Disease 2019 Policy
Documents,” February 2, 2021.


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the flexibility to adapt to changing conditions (e.g., variants, and disease prevalence or virulence)
and new information (e.g., evolving best health and safety practices).

        The DoD is committed to protecting its workforce and stakeholders from the effects of
the COVID-19 pandemic, while preserving our ability to complete its mission. As data becomes
available, science-based evidence emerges, and the CDC, OSHA, and other cognizant agencies,
departments, and other elements of the Federal Government revise and develop new
recommendations to protect the workforce, the DoD will incorporate them into its current and
future policies and guidance as appropriate.




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          SECTION 1: HEALTH PROTECTION CONDITION (HPCON)
                            FRAMEWORK

1.1. HPCON FRAMEWORK.

       Installations6 will manage COVID-19 health protection measures using HPCON levels.
HPCON 0 is the base level for the HPCON Framework and represents a return to normal
operations.

        Table 1, below, contains FHP activities installation commanders will undertake at
each HPCON level. Installation commanders may deem it necessary to take additional
precautions for select personnel and medically vulnerable populations (e.g., those who
are elderly, have underlying health conditions or respiratory diseases, or are
immunocompromised) and are both encouraged and authorized to do so. Installation
commanders may further impose additional requirements appropriate for a particular
local setting and/or based on transmission risk regardless of HPCON level.


1.2. AUTHORITY TO DETERMINE HPCON LEVELS.

        The authority to determine HPCON levels (“HPCON implementation”) is
delegated to the Secretaries of the MILDEPs and Geographic Combatant Commanders
and may be further delegated in writing to a level no lower than installation commanders
in the grade of O-6 or higher. The Director of Administration and Management (DA&M)
has HPCON implementation authority for the Pentagon Reservation, and the Defense
Logistics Agency (DLA) has HPCON implementation authority for four locations.7
Those with HPCON implementation authority will coordinate changes in HPCON levels
with other military installations, affected Geographic Combatant Commands (GCCs),
and/or Direct Reporting Units in the same local commuting area (i.e., within
approximately 30 miles) to the greatest extent practicable to facilitate consistency in
response and unity of messaging.

       Geographic Combatant Commanders have authority to determine HPCON
implementation policy in accordance with operational requirements, and to match
relevant Host Nation (HN) and allied forces standards, as applicable. Installation
commanders outside the United States have unique geographic constraints and
operational considerations for FHP. U.S. personnel should respect relevant HN and

6
  For the purposes of this guidance, a military installation is a base, camp, post, station, yard, center, homeport
facility for any ship, or other activity under the jurisdiction of the Secretary of a Military Department or the
Secretary of Defense, including any leased facility, which is located within any State, the District of Columbia, the
Commonwealth of Puerto Rico, American Samoa, the Virgin Islands, the Commonwealth of the Northern Mariana
Islands, or Guam. In the case of an activity in a foreign country, a military installation is any area under the
operational control of the Secretary of a Military Department or the Secretary of Defense, without regard to the
duration of operational control.
7
  DLA Land & Maritime (Columbus, OH), DLA Distribution HQ (New Cumberland, PA), DLA Aviation
(Richmond, VA), and DLA Distribution (San Joaquin, CA).


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allied forces standards, as applicable, and should consult with relevant HN authorities, including
public health and medical authorities, when deciding to change HPCON levels.


1.3. CRITERIA FOR CHANGING HPCON LEVELS.

        HPCON level determinations for COVID-19 should be based on the CDC COVID-19
Community Levels reported by the CDC, 8 which include screening levels that make use of new
case-rates and health and health care systems-related information. HPCON Levels A, B, and C
correspond directly to CDC COVID-19 Community Levels of low, medium, and high
community transmission, respectively.9

        Installations outside the United States should utilize local community-level data, if
available, in setting HPCON levels. Otherwise, installation commanders should consider
consulting country-level data for their HN and case-rate information available from the CDC at:
https://covid.cdc.gov/covid-data-tracker/#global-counts-rates and the World Health Organization
at https://covid19.who.int/. Other sources of data on which installation commanders may rely
include academic institutions if such HN data is inaccessible.10

       Elevation to HPCON D should be based on the determination that there is substantial loss
of medical capabilities in the local community. The factors listed in Table 1, below, must be
considered when determining whether to move to or from HPCON D.

      Table 1, below, includes FHP measures that installation commanders may undertake at
each HPCON level, in addition to those required elsewhere in this guidance.




8
  An overview of the CDC COVID-19 Community Levels is available at: https://www.cdc.gov/coronavirus/2019-
ncov/science/community-levels html.
9
  County Community Levels are available for U.S. states and territories is available at:
https://www.cdc.gov/coronavirus/2019-ncov/science/community-levels.html. Find community levels by “State or
Territory” and then by “County or Metro Area.” Jurisdictions which are not counties, such as the District of
Columbia, also are listed under “County or Metro Area.” The Pentagon is in Arlington County, Virginia.
10
   Note: local areas within a country may experience very different COVID-19 case rates than country-specific data.


                                                         7
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 TABLE 1: Force Health Protection Measures by HPCON Level for the COVID-19 Pandemic
  HPCON D High COVID-19 Community Level* Risk, Utilize measures from HPCON A, B and C
   Severe    with degraded availability of medical       with the following modifications:
             countermeasures, and substantial loss of        a. Less than 25 percent of normal occupancy
             medical capability                                 in the workplace, or the minimum
                                                                required on-site for essential operations
             High COVID-19 Community Level* in                  that must be conducted in person.
             the county in which the installation is         b. Strongly consider declaring a local Public
             located.                                           Health Emergency.
                                                             c. Consider limiting visitor access to the
             AND any of the following                           installation to only those required for
                                                                mission essential activities.
             Civilian healthcare capability and              d. Cancel non-mission-essential activities.
             utilization (percent and trend)*:               e. Close non-essential services (e.g., fitness
             >50 percent staffed of hospital beds filled        centers, leisure and recreational facilities,
             with individuals who have COVID-19 as              beauty/barber shops, non-essential retail,
             the primary admission criteria; or                 dine-in eating establishments).
             >70 percent of staffed intensive care unit      f. Consider potential delay or cancelation of
             (ICU) beds filled with individuals who have        exercises.
             COVID-19 as the primary admission               g. Restrict or suspend social gatherings to
             criteria; or                                       the greatest extent possible.
             Overall staffed hospitals and ICUs have         h. Follow any other applicable force health
             limited to no capacity.                            protection guidance at:
             OR                                                 https://www.defense.gov/Spotlights/Coro
                                                                navirus-DOD-Response/Latest-DOD-
             Military Health System (MHS) health                Guidance/.11
             care capability and utilization (percent
             and trend):
             Degradation of MHS capabilities requiring
             Crisis Status operations; and >95 percent
             staffed bed occupancy; or
             >50 percent military medical treatment
             facility (MTF) staff in isolation or
             quarantine or unvaccinated; or
             >60 percent staff absent who provide urgent
             or emergent care; and
             Local emergency departments on divert or
             inability of civilian health care to absorb
             excess MHS patients; or
             Clinical or appointment capability reduced
             >60 percent in key departments.
             OR

                     Other factors:
                     Loss of vaccine effectiveness in available
                     vaccines resulting in vaccinated individuals
                     routinely experiencing severe disease,
                     hospitalization or death; or


11
     For information about masking and screening testing at the various HPCON levels, refer to sections 2.1 and 5.3.


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            Elevated case levels resulting in significant
            curtailment of essential services either on
            installation or in civilian communities
            immediately adjacent to the installation
            (e.g., emergency response, security, facility
            maintenance, and energy/communication).

            *CDC COVID-19 Community Level (by
            county) can be found at:
            https://www.cdc.gov/coronavirus/2019-
            ncov/your-health/covid-by-county.html




 HPCON C    High COVID-19 Community Level* Risk             Utilize measures from HPCON A and B with
   High                                                     the following modifications:
            High COVID-19 Community Level* in                   a. Less than 50 percent of normal occupancy
            the county in which the installation is                in the workplace.
            located.                                            b. Consider limiting visitor access to the
                                                                   installation for non-essential mission-
            *CDC COVID-19 Community Level (by                      related/operational activities.
            county) Civilian county level data can be           c. Limit social gatherings to less than 50
            found at:                                              percent facility/room occupancy.
            https://www.cdc.gov/coronavirus/2019-               d. MTFs may limit elective surgeries in
            ncov/your-health/covid-by-county.htm.                  accordance with guidance from the
                                                                   Defense Health Agency and the Assistant
                                                                   Secretary of Defense for Health Affairs.
                                                                e. Consider re-scoping, modifying, or
                                                                   potentially canceling exercises.
                                                                f. Indoor common areas and large venues
                                                                   may be closed. Dining establishments
                                                                   may be limited to takeout.
                                                                g. Gyms may be closed at this level or
                                                                   operate at diminished occupancy.
                                                                h. Schools operated by the Department of
                                                                   Defense Education Activity (DoDEA)
                                                                   will operate remotely.
                                                                i. Maximize telework to the greatest extent
                                                                   practical.
                                                                j. Follow any other applicable force health
                                                                   protection guidance at:
                                                                   https://www.defense.gov/Spotlights/Coro
                                                                   navirus-DOD-Response/Latest-DOD-
                                                                   Guidance/.




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 HPCON B    Medium COVID-19 Community level*             Utilize measures from HPCON A with the
 Moderate   Risk                                         following modifications:
                                                             a. Less than 80 percent of normal occupancy
            Medium COVID-19 Community Level*                     in the workplace.
            in the county in which the installation is       b. Permit liberal telework where possible,
            located.                                             especially for individuals who self-
                                                                 identify as immunocompromised or being
                                                                 at high risk for severe disease.
            *CDC COVID-19 Community Level (by                c. Consider limiting occupancy of common
            county) Civilian county level data can be            areas where personnel are likely to
            found at:                                            congregate and interact by marking
            https://www.cdc.gov/coronavirus/2019-                approved sitting areas or removing
            ncov/your-health/covid-by-county.htm.                furniture to maintain physical distancing.
                                                             d. Follow any other applicable Force Health
                                                                 Protection Guidance at:
                                                                 https://www.defense.gov/Spotlights/Coro
                                                                 navirus-DOD-Response/Latest-DOD-
                                                                 Guidance/.



 HPCON A    Low COVID-19 Community Level* Risk               a. Less than 100 percent of normal
   Low                                                          occupancy in the workplace, with
            Low COVID-19 Community Level* in the                telework as appropriate.
            county in which the installation is              b. Communicate to personnel how and when
            located.                                            to report illness and seek care for potential
                                                                influenza-like illness.
            *CDC COVID-19 Community Level (by                c. Common areas and large venues (e.g., sit-
            county) Civilian county level data can be           down dining, movie theaters, gyms,
            found at:                                           sporting venues, and commissaries)
            https://www.cdc.gov/coronavirus/2019-               should adhere to established cleaning and
            ncov/your-health/covid-by-county.htm.               sanitation protocols
                                                             d. DoDEA schools will operate following
                                                                CDC recommendations and guidelines
                                                                specific to schools as implemented in
                                                                operational procedures and guidance from
                                                                the Director, DoDEA. Children are not
                                                                required to mask. Any DoD guidance that
                                                                is more stringent than CDC guidance must
                                                                be followed.
                                                             e. Follow any other applicable Force Health
                                                                Protection Guidance at:
                                                                https://www.defense.gov/Spotlights/Coro
                                                                navirus-DOD-Response/Latest-DOD-
                                                                Guidance/.




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HPCON 0     Normal Baseline
                                                   a. Resume routine standard operations.
                                                   b. Maintain standard precautions such as
                                                      routine hand washing, cough on sleeve,
                                                      good diet, exercise, vaccinations,
                                                      education, routine health alerts, and
                                                      regular preparedness activities.




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1.4. WORKPLACE OCCUPANCY LEVELS WITHIN THE HPCON FRAMEWORK.

        Workplace occupancy limits for each HPCON level are included as measures in Table 1.
The workplace occupancy levels in the chart are ceilings, not goals. Reduced workplace
occupancy may be achieved through telework, remote work, flexible scheduling, and other
methods, as appropriate. At HPCON A or higher, DoD Components are granted an exception to
policy from Enclosure 3, paragraph 3.j.(2) of Department of Defense Instruction 1035.01,
“Telework Policy,” and may allow DoD civilian employees to telework with a child or other
person requiring care or supervision present at home.

        DoD Component heads have the authority to grant exemptions for workplace occupancy
limits that are required for national security and the success of critical missions. DoD
Component heads, other than the Secretaries of the MILDEPs, may delegate this workplace
occupancy limit authority in writing to a level no lower than a general/flag officer or Senior
Executive Service (SES) member (or equivalent). Secretaries of the MILDEPs may delegate
workplace occupancy limit exemption authority in writing to a level no lower than an O-6
installation commander. The DA&M has workplace occupancy limit exemption authority for all
DoD Components located on the Pentagon Reservation and other facilities within the National
Capital Region managed by Washington Headquarters Services. This authority may be
delegated at the discretion of the DA&M. DLA has workplace occupancy limit exemption
authority for four locations.12 When considering a workplace occupancy limit exemption, those
with exemption authority must take into account the ability to maintain distance between
personnel and other public health and workplace safety measures contained in this Guidance.

        A record of all workplace occupancy limit exemptions will be retained by the exemption
authority for the duration of the pandemic and until returning to HPCON 0 and provided for
awareness to the public health office concerned and to the installation commander, if different
from the exemption authority. FHP measures and other appropriate mitigation measures shall be
used rigorously in all areas and especially in areas for which an occupancy exemption has been
granted.




12
  DLA Land & Maritime (Columbus, OH), DLA Distribution HQ (New Cumberland, PA), DLA Aviation
(Richmond, VA), and DLA Distribution (San Joaquin, CA).


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        To ensure the safety of the DoD workforce,13 DoD civilian employees are
required to be fully vaccinated, unless they have received a temporary or permanent
exemption. “DoD civilian employee” includes foreign nationals employed by DoD
outside the United States, to the maximum extent possible while respecting host nation
agreement and laws. It also includes DoD civilian employees who are engaged in full
time telework or remote work.

        If they have not already done so, supervisors of DoD civilian employees must ask
DoD civilian employees whether they are fully vaccinated. Employees who indicate they
are fully vaccinated must provide proof of that vaccination status to their supervisors.
Acceptable proof includes:

a. A copy of the COVID-19 Vaccination Record Card (CDC Form MLS-319813_r, published
   on September 3, 2020);
b. A copy of medical records documenting the vaccination;
c. A copy of immunization records from a public health or State immunization information
   system; or
d. A copy of any other official documentation containing the data points required to be
   verified by the supervisor.

        When necessary for implementing FHP measures related to workplace access in
section 5.5, supervisors of DoD civilian employees may ask DoD civilian employees
whether they are up to date with COVID-19 vaccinations. If there is a supervisory
concern about the accuracy of the DoD civilian employee’s response, DoD civilian
employees are required to provide proof of up-to-date vaccination status. Supervisors
must not inquire about disabilities when asking DoD civilian employees about up-to-date
vaccination status.

        DoD requires that individuals who started their Government service after
November 22, 2021, be fully vaccinated prior to their start date, except in limited
circumstances where an accommodation is legally required. However, should DoD have
an urgent, mission critical hiring need to onboard new staff prior to those new staff
becoming fully vaccinated, the DoD head may delay the vaccination requirement in the
case of such limited delays, DoD will require new hires to be fully vaccinated within 60
days of their start date and to follow safety protocols for not fully vaccinated individuals
until they are fully vaccinated.

         DoD civilian employees are eligible to receive the COVID-19 vaccine at any DoD
vaccination site, including military medical treatment facilities. They may also opt to
receive the COVID-19 vaccine at locations other than DoD vaccination sites, such as
retail stores, private medical practices, and/or local and State public health department
sites.



13
  Executive Order 14043, “Requiring Coronavirus Disease 2019 Vaccination for Federal Employees,” September 9,
2021.


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        DoD civilian employees are authorized administrative leave to receive COVID-19
vaccination doses. DoD civilian employees are authorized official duty time to receive
COVID 19 vaccination doses, including first, second, and booster shots. For DoD
civilian employees who are unable to receive a COVID 19 vaccination within their duty
hours, regular overtime rules are applicable. In most circumstances, DoD authorizes
employees to take up to 4 hours to travel to the vaccination site, complete any vaccination dose,
and return to work—for example, up to 8 hours of duty time for employees receiving two doses
(If an employee needs to spend less time getting the vaccine, only the needed amount of duty
time should be granted). Employees taking longer than 4 hours must document the reasons for
the additional time (e.g., they may need to travel long distances to get the vaccine). Reasonable
transportation costs that are incurred as a result of obtaining the vaccine from a site preapproved
by DoD are handled the same way as local travel or temporary duty cost reimbursement is
handled based on DoD policy.

        DoD civilian employees who experience an adverse reaction to a COVID-19 vaccination
should be granted no more than 2 workdays of administrative leave for recovery associated with
a single COVID-19 vaccination dose.

        DoD will grant leave-eligible employees up to 4 hours of administrative leave per dose to
accompany a family member who is receiving any COVID-19 vaccination dose. For example,
up to a total of 12 hours of leave for a family member receiving three doses—for each family
member the employee accompanies. If an employee needs to spend less time accompanying a
family member who is receiving the COVID-19 vaccine, DoD will grant only the needed amount
of administrative leave. Employees should obtain advance approval from their supervisor before
being permitted to use administrative leave for COVID-19 vaccination purposes. Employees are
not credited with administrative leave or overtime work for time spent outside their tour of duty
helping a family member get vaccinated.

        DoD civilian employees should use the time and attendance code for “physical fitness” to
record administrative leave for COVID-19 vaccination recovery time that prevents the employee
from working or for taking a family member to be vaccinated for COVID-19) The type hour
code is “LN” and the environmental/hazard/other code is “PF.” Non-appropriated fund
employers should code administrative leave related to COVID-19 in a way that can be easily
reported.

     3. DoD contractor personnel:

       Vaccination requirements for DoD contractor personnel are outlined in several
references.14 In implementing EO 14042, the DoD will comply with all relevant court orders.




14
  Safer Federal Workforce Task Force, “COVID-19 Workplace Safety: Guidance for Federal Contractors and
Subcontractors,” September 24, 2021; Principal Director for Defense Pricing and Contracting Memorandum, “Class
Deviation 2021-O0009-Ensuring Adequate COVID-l9 Safety Protocols for Federal Contractors,” October 1, 2021;
EO 14042, “Ensuring Adequate COVID Safety Protocols for Federal Contractors,” September 9, 2021.


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        Onsite DoD contractor personnel will complete the DD Form 3150, “Contractor
Personnel and Visitor Certification of Vaccination”;15 maintain a current completed copy; and
show it to authorized DoD personnel upon request when they work at a DoD facility where the
CDC COVID-19 Community Level is high or medium. Failure to complete the DD Form 3150
may result in denying DoD contractor personnel access to the DoD facility to which access is
sought. Onsite DoD contractor personnel who are not fully vaccinated against COVID-19,
because they are not performing under a covered contract that requires COVID-19 vaccination,
due to a legally required accommodation, or who decline to provide information about their
COVID-19 vaccination status, will be subject to COVID-19 screening testing at least
weekly when the CDC COVID-19 Community Level for the facility in which they work
is high or medium. DoD contractor personnel who refuse required COVID-19 screening
testing will be denied access to DoD facilities.

        For purposes of the requirements regarding providing information about
vaccination status and screening testing, “contractor personnel” are those individuals
issued a credential by DoD that affords the individual recurring access to DoD facilities,
classified herein as “credentialed recurring access” (CRA) (e.g., Common Access
Cardholders) who are performing under a contractor or subcontract between their
employer and the DoD. “Contractor personnel” do not include employees of DoD
contractors or subcontractors receiving ad hoc access to DoD facilities (e.g., delivery
personnel, taxi services) or employees of DoD contractors or subcontractors who have
access to the grounds of, but not the buildings on, DoD installations (e.g., contract
groundskeepers, fuel delivery personnel, household goods transportation personnel).

       4. Official visitors:

         “Official visitors” are non-DoD individuals seeking access, one time or recurring,
in association with the performance of official DoD business (such as to attend a
meeting), but who do not have CRA. “Official visitors” do not include personnel
receiving ad hoc access to DoD facilities (e.g., delivery personnel, taxi services);
individuals who have access to the grounds of, but not the buildings on, DoD installations
(e.g., contract groundskeepers, fuel delivery personnel, household goods transportation
personnel); personnel accessing DoD buildings unrelated to the performance of DoD
business (e.g., residential housing); or personnel accessing DoD facilities to receive a
public benefit (e.g., commissary; exchange; public museum; air show; military medical
treatment facility; Morale, Welfare and Recreation resources).

        Official visitors will complete DD Form 3150; maintain a current completed DD
Form 3150; and show it to authorized DoD personnel, upon request when they are
visiting a DoD facility where the CDC COVID-19 Community Level is high or medium.
Failure to complete the DD Form 3150 may result in denial of an official visitor’s access
to the DoD facility to which access is sought. Service members not on active duty or
active duty for training are also subject to the requirements in this paragraph.



15
     https://www.esd.whs mil/Portals/54/Documents/DD/forms/dd/dd3150.pdf


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         d. DoD Components will designate officials, at the appropriate organizational
level, to handle the disciplinary process to promote consistent application of disciplinary
measures. Such officials will decide each case with due regard to the facts and
circumstances of that case.

       e. Supervisors should contact their servicing human resources and legal offices to
discuss options available to address individual situations regarding enforcement of this
requirement.

        f. DoD Components are encouraged to identify an occupational health office,
medical office, or other resource with which a DoD civilian employee may consult during
the period of counseling and education.

2.3. EXEMPTIONS FROM DOD CIVILIAN EMPLOYEE COVID 19 VACCINATION
REQUIREMENT.

    a. DoD civilian employees may request an exemption on the basis of a medical condition
or circumstance or a sincerely held religious belief, practice or observance. Because all DoD
civilian employees must now be vaccinated against COVID 19 as a condition of
employment, exemptions will be granted in limited circumstances and only where legally
required. The information collected must be handled in accordance with the privacy
requirements in section 8.

   b. Personnel.

        (i) Decision Authority. Management official(s) will be designated to serve as
Decision Authorities to make decisions concerning requests for exemption from the
COVID 19 vaccination requirement, in consultation with the organization's servicing
legal office. Decision Authorities will be at an appropriate level within the organization
to consider the impact, if any, that granting a request will have on the DoD Component
operations and to promote similar cases being handled in a consistent manner, with due
regard for the facts and circumstances of each case. Each employee's request must be
considered on its own merits.

        (ii) Subject Matter Experts. DoD Components may identify subject matter
experts in areas such as human resources (HR), equal employment opportunity (EEO),
medicine, and religious matters to serve as advisors to assist Decision Authorities. Such
advisors may provide individual advice, as needed by the Decision Authority, but may
not be used to develop a group or consensus recommendation or decision.

       (iii) Administrative Support. DoD Components will provide appropriate
personnel and other resources to administratively support the Decision Authorities,
including support necessary to assist the Decision Authorities with preparing written
products.




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   c. Employee Notice. DoD Components will inform DoD civilian employees how to make a
request for an exemption. Requests needed to have been submitted no later than November 8,
2021, absent extenuating circumstances, to be considered timely.

    d. Employee Requests. To make a request for exemption from the COVID 19 vaccination
requirement, DoD civilian employees must submit a request to their direct supervisor. For
purposes of submitting this exemption request, “direct supervisor” includes an authorized human
resources official. The employee must provide an official statement which describes the medical
or religious reason the employee objects to vaccination against COVID 19. Generally, such
requests must be in writing. DoD civilian employees may use DD Form 3176 or DD Form 3177
to submit their requests. DoD civilian employees who make oral requests may be provided a
sample written request format and/or be interviewed to develop the basis for the request. While
the use of the DD Form 3176 and DD Form 3177 is optional for DoD civilian employees, when
DoD civilian employees make a request, they must provide the following information:

           (1) Medical Exemption Requests.

           x   A description of the medical condition or circumstance that is the basis for the
               request for a medical exemption from the COVID 19 vaccination requirement;
           x   An explanation of why the medical condition or circumstance prevents the
               employee from being safely vaccinated against COVID 19;
           x   If it is a temporary medical condition or circumstance, a statement concerning
               when it will no longer be a medical necessity to delay vaccination against
               COVID 19; and
           x   Any additional information, including medical documentation that addresses the
               employee's particular medical condition or circumstance, which may be helpful in
               resolving the employee's request for a medical exemption from the COVID 19
               vaccination requirement.

           (2) Religious.

           x   A description of the religious belief, practice, or observance that is the basis for
               the request for a religious exemption from the COVID 19 vaccination
               requirement;
           x   A description of when and how the DoD civilian employee came to hold the
               religious belief or observe the religious practice;
           x   A description of how the DoD civilian employee has demonstrated the religious
               belief or observed the religious practice in the past;
           x   An explanation of how the COVID-19 vaccine conflicts with the religious belief,
               practice, or observance;
           x   A statement concerning whether the DoD civilian employee has previously raised
               an objection to a vaccination, medical treatment, or medicine based on a religious
               belief or practice. If so, a description of the circumstances, timing, and resolution
               of the matter; and




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           x   Any additional information that may be helpful in resolving the DoD civilian
               employee’s request for a religious exemption from the COVID 19 vaccination
               requirement.

   e. Supervisor Responsibilities.

       i. Following receipt of an employee’s request for exemption, supervisors must
update Section B of the employee’s DD Form 3175 to indicate that a request for
exemption determination is pending.

      ii. As necessary, supervisors will engage with the employee to ensure
completeness of the employee’s exemption request.

       iii. In coordination with human resources officials, supervisors will prepare an
exemption request package that contains factual information about the circumstances of
the employee’s request. A complete exemption request package will include the basis for
the employee's request and any supporting documentation submitted by the employee, a
description of the nature of the employee’s job responsibilities and work environment,
and any circumstances relevant to a management level assessment of the reasonably
foreseeable effects on the agency’s operations, including protecting the agency’s
workforce and members of the public with whom the employee interacts in the workplace
from COVID 19, if the employee remains unvaccinated.

       iv. Supervisors will forward the exemption request package to the Decision
Authority Support Office.

   f. Decision Authority Support Office.

      i. DoD Components will establish Decision Authority Support Offices to support
exemption request Decision Authorities.

       ii. The Decision Authority Support Office will intake exemption request
packages and, under the supervision of the Decision Authority, provide administrative
support to the Decision Authority.

        iii. At the request of the Decision Authority, the Decision Authority Support
Office may coordinate with subject matter experts to obtain written documentation which
includes relevant factual information and, as necessary, a professional opinion related to
the factual information, for inclusion in the exemption request package.

       iv. The Decision Authority Support Office may not provide a consensus opinion
or recommendation to the Decision Authority.

   g. Decision Authority Determination.




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       i. The Decision Authority first analyzes the exemption request package. As necessary,
the Decision Authority may request additional information and consult with subject matter
experts.

        ii. After conducting a review of the exemption request, the Decision Authority makes a
determination, prepares a written statement that includes the reasons for the determination
(which may involve drafting assistance based on the Decision Authority's instructions regarding
its contents), and obtains a legal review of the determination.

        iii. In cases where the exemption is temporary or denied, the Decision Authority's
determination must specify a date by which the DoD civilian employee must be fully vaccinated
against COVID 19. In specifying that date, DoD civilian employees must be given a minimum
period of 14 days to receive their first (or only) dose of a COVID 19 vaccine.

    h. Employee Notification of Determination. The Decision Authority Support Office will
transmit the Decision Authority’s written determination to the DoD civilian employee's
supervisor, who, in turn, provides the DoD civilian employee with a copy of the written
determination, updates the DD Form 3175, and informs the DoD civilian employee of next steps.

       i. A chart illustrating the exemption request process is below.

      Position             Role/Responsibility           Output                 Submit to
 Requesting employee      Provide vaccination      Completed DD Form       Supervisor
                          status via DD Form       3175.
                          3175 to indicate
                          exemption pending.
 Requesting employee      Request exemption.       Completed DD Form       Supervisor
                                                   3176 (medical) or
                                                   DD Form 3177
                                                   (religious), as
                                                   appropriate, or other
                                                   request that contains
                                                   the information
                                                   required by FHP 23,
                                                   Revision 3.
 Supervisor, in           Provide relevant         Exemption request       Decision Authority
 consultation with HR     information              package that includes   Support Office
 officials                concerning               employee’s request
                          employee’s               and supervisory
                          occupation and work      information
                          environment,             concerning
                          including:               employee’s
                          availability of          occupation, work
                          measures to              environment, and
                          physically distance      other circumstances
                          requestor from co        of the request.



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                     workers and members
                     of the public, the
                     volume of exemption
                     requests in the
                     organization, and any
                     other relevant
                     information
                     concerning the
                     circumstances of the
                     employee’s request.
Decision Authority   Receive and track       Exemption request       Decision Authority
Support Office       processing of           package that includes
                     exemption request       employee’s request;
                     package. Supplement     supervisor
                     package with            information
                     individual advice       concerning
                     from subject matter     employee’s
                     experts and relevant    occupation, work
                     factual information,    environment, and
                     as directed by the      other circumstances
                     Decision Authority.     of the request; and
                                             any supporting
                                             documentation
                                             relevant to the
                                             Decision Authority’s
                                             analysis.
Decision Authority   Review submitted        Written decision that   Supervisor
                     documentation,          addresses employee’s
                     request any             individual
                     reasonably necessary    circumstances and
                     additional              has been reviewed by
                     information, and        appropriate legal
                     prepare written         advisors.
                     decision in
                     consultation with
                     legal advisors and
                     with the advice of
                     subject matter
                     experts, as
                     appropriate.
Supervisor           Receive decision,       If approved,            Employee
                     discuss with            employee continues
                     employee. If            to comply with
                     exemption approved,     generally applicable
                     implement mitigation    mitigation measures
                     measures and, if        (for instance, as


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                           necessary, address        applicable, screening
                           any follow on             testing, masking, and
                           requests for              physical distancing)
                           accommodation in          and any other
                           accordance with           mitigation measures
                           Component EEO             directed by the
                           procedures. If            Decision Authority or
                           disapproved, provide      management
                           opportunity for           officials. If
                           counseling by             disapproved,
                           medical professional      vaccination tracking
                           or other appropriate      and/or progressive
                           expert/ initiate          discipline.
                           requirement for
                           vaccination. Work
                           with the legal
                           advisor(s) and, as
                           appropriate, HR
                           LMER and EEO
                           offices.

    j. Exemption Criteria.

         i. Religious Exemption Requests. Requests for religious exemption will be analyzed
pursuant to the Religious Freedom Restoration Act of 1993 (RFRA), 42 U.S.C. § 2000bb et seq.
RFRA prohibits the Government from substantially burdening a person's exercise of religion, unless
it demonstrates that application of the burden to the person is in furtherance of a compelling
governmental interest and is the least restrictive means of furthering that compelling governmental
interest. In the first instance, Decision Authorities are to determine whether the requestor has met his
or her burden to establish that the vaccination requirement imposes a substantial burden on exercise
of a sincerely held religious belief. If so, Decision Authorities analyze the request to determine
whether the burden on religious exercise is the least restrictive means of furthering the Government's
compelling interest in health and safety of the DoD workforce, and the health and safety of members
of the public with whom they interact. If vaccination is not the least restrictive means, the exemption
will be granted and supervisors will implement the less restrictive means.

         ii. Medical Exemption Requests. Pursuant to the Rehabilitation Act of 1973, as amended, 29
U.S.C. § 791 et seq. Decision Authorities will analyze requests for medical exemption to determine
whether the medical condition or circumstance prevents the employee from safely being vaccinated.
If so, the employee will be exempt from vaccination (temporarily or permanently, as appropriate).
Supervisors will direct compliance with applicable FHP guidance and direct any mitigation measures
that are necessary to prevent the spread of the virus that causes COVID 19 in the workplace and to
the members of the public with whom the employee interacts. If such measures result in the
employee being unable to perform the essential functions of the position, such matters will be
referred to the equal employment opportunity reasonable accommodation process.

    k. Additional Guidance.


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            (1) Information collected concerning medical and religious exemption
requests must be maintained in accordance with the privacy requirements in section 8.
Requests for medical exemption will be treated as medical records to be maintained
separately from other personnel files.

             (2) Discipline for failure to meet the COVID 19 vaccination requirement
will not be initiated against a DoD civilian employee while a request for a medical or
religious exemption from the COVID 19 vaccination requirement is pending
determination. If a DoD civilian employee submits a request after discipline is
initiated, disciplinary measures may be held in abeyance where appropriate.

            (3) DoD civilian employees who are not fully vaccinated but who have a
pending request for exemption from vaccination are required to comply with any
mitigation measures that are applicable to all DoD civilian employees in the worksite
who are not fully vaccinated. Requests for reasonable accommodation related to
those mitigation measures will be combined with any pending medical or religious
exemption to vaccination request, for purposes of making a final determination
concerning those measures. Without making a finding concerning whether a
sufficient basis for a reasonable accommodation concerning those measures exists,
the supervisor may use the normal interactive process to pursue a temporary
accommodation that protects the health and safety of the workplace while a decision
concerning those measures is pending. Otherwise, requests for reasonable
accommodation related to force health protection and mitigation measures may be
analyzed separately from requests for exemption from vaccination.

           (4) A DoD civilian employee who receives an exemption from the
vaccination requirement may, because of the exemption, be unable to perform the
duties and responsibilities of the position without a change in working conditions.
Supervisors will immediately implement any mitigation measures required by the
Decision Authority and applicable FHP guidance. Supervisors may engage in the
normal interactive process concerning any other measures necessary to protect the
health and safety of the workplace.

          (5) Requests for exemption from candidates for employment will be
handled consistent with the procedures in this section.

            (6) Unless responsibility is otherwise established in a written support
agreement, the Combatant Command Support Agent identified in DoD Directive
5100.03, “Support of the Headquarters of Combatant and Subordinate Unified
Command,” is responsible for administration of exemption processes applicable to
DoD employees assigned, detailed, or otherwise deployed to a Combatant Command
area of responsibility.




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  SECTION 3: CONDUCTING TESTING FOR SUSPECTED COVID-19
 CASES AND GENERAL ELIGIBILITY FOR DOD-CONDUCTED TESTING
       This section provides guidance on COVID-19 testing for eligible persons suspected of
having contracted COVID-19.


3.1. TESTING CONSIDERATIONS.

         Health care providers will use their clinical judgment and awareness of laboratory testing
resource availability, and will work closely with local and installation public health authorities or
Public Health Emergency officers, to guide COVID-19 diagnostic testing. Providers are
encouraged to test for other causes of respiratory illness as clinically indicated. The CDC testing
priorities may be found at: https://www.cdc.gov/coronavirus/2019-ncov/hcp/testing.html.

       Asymptomatic individuals may be tested based on a clinician’s judgment and as deemed
appropriate by public health professionals and in accordance with current guidance.

        DoD Components must ensure appropriate infection prevention and control procedures
are followed throughout the entire testing process. This includes employing the appropriate
biosafety precautions when collecting and handling specimens, consistent with CDC guidance.


3.2. DOD LABORATORIES AND TESTS.

        The DoD is committed to maximizing testing capability for operational needs and to
increasing standardization and synchronization of testing across the Department. However,
differences among operational environments, deployment cycles, and congregate setting
limitations drive differences in testing demands to mitigate operational risk. This testing
includes molecular tests and, for certain limited circumstances, alternative options such as serial
antigen testing.

        DoD Components will ensure that diagnostic testing and screening testing are conducted
at laboratories designated by the Defense Health Agency’s (DHA) Center for Laboratory
Medicine Services (CLMS). CLMS manages diagnostic and screening testing policy,
certification, and exceptions in accordance with current guidance. CLMS may be contacted at:
dha.ncr.clinic-support.mbx.clms@mail.mil.

        DoD Components must comply with Food and Drug Administration (FDA) regulations
for diagnostic testing and screening testing, including by complying with COVID-19 emergency
use authorizations (EUAs) or biologics license applications (BLAs), and other current guidance.
The FDA COVID-19 EUA list is available at: https://www.fda.gov/medical-
devices/coronavirus-disease-2019-covid-19-emergency-use-authorizations-medical-
devices/vitro-diagnostics-euas.




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       DoD Components may consider non-clinical, Research Use Only molecular
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tests for surveillance testing using a pooled specimen testing protocol, consistent with
applicable law and regulations. Results from any positive pools will only be reported in
aggregate and must not be placed into any individual’s medical record. Any positive
pool must be followed by testing every individual sample in that pool with an FDA EUA-
authorized molecular test, or an FDA-EUA or BLA authorized test (when available), and
performed in a clinical laboratory registered by CLMS, or an equivalent civilian
laboratory.

       FDA EUA-authorized diagnostic and screening tests that are authorized for
pooled testing for screening testing purposes may be performed at Clinical Laboratory
Improvement Program-registered laboratories, in accordance with the terms of the
applicable EUA.

       DoD Components must coordinate planned updates to pooled testing protocols
with the Assistant Secretary of Defense for Health Affairs (ASD(HA)). The Secretaries
of MILDEPs will retain authority to prioritize pooled testing populations and assignments
to MILDEP pooled testing laboratories and resources.

        DoD Components are encouraged to employ next-generation sequencing (NGS)
technology for COVID-19 surveillance testing. As with testing completed via pooled
testing, testing requirements using NGS must be coordinated with the ASD(HA).

        DoD Components must record COVID-19 diagnostic and screening testing results
in the electronic health record or occupational health record of the individual tested in
accordance with Department of Defense Instruction (DoDI) 6040.45, “DoD Health
Record Life Cycle Management,” and applicable processes for DoD contractor personnel.
DHA will assist DoD Components, as needed, to ensure this occurs.


3.3. ELIGIBILITY OF DOD PERSONNEL, OTHER BENEFICIARIES, AND OTHER
POPULATIONS FOR TESTING.

        DoD Components may test Service members (including members of the Reserve
Components when on active duty for a period of more than 30 days, or on full-time
National Guard duty of more than 30 days) suspected of having contracted COVID-19,
for purposes of disease surveillance, and for official travel in accordance with this
guidance. Reserve Component Service members on active duty for a period of 30 days or
less will follow their Component’s guidelines.

       DoD civilian employees (who are not otherwise DoD health care beneficiaries)
suspected of having contracted COVID-19 may be offered screening testing if their
supervisor has determined that their presence in the DoD workplace or official travel is


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   Research Use Only assays are products in the laboratory research phase of development and are not approved for
clinical diagnostic use (https://www.fda.gov/media/87374/download).


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required. DoD civilian employees may also be offered screening testing in connection with
workplace disease surveillance.

        DoD contractor personnel suspected of having contracted COVID-19, or for
whom testing is required for workplace surveillance or official travel, may be offered
screening testing, subject to available funding, if such testing is necessary to support
mission requirements and is consistent with applicable contracts. For example, if testing is
explicitly called for under the contract; or if testing is required to access a DoD facility and the
contractor personnel must access the DoD facility to perform under the contract. DoD
contracting officers may also modify existing contracts to require contractors to test their
personnel, or to permit DoD to test their personnel, as necessary to support mission requirements
and subject to available funding.

        For testing of foreign national employees in locations outside the United States who are
suspected of having contracted COVID-19, DoD Components should refer to country-specific
labor agreements or contracts and consult with supporting legal counsel for guidance and any
limitations concerning such tests.




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          SECTION 4: SURVEILLANCE AND SCREENING TESTING

4.1. CONDUCTING REQUIRED SCREENING TESTING

        To establish COVID-19 screening testing for individuals for whom weekly screening
testing is required, DoD Components will:

       a. Execute the screening testing requirement with FDA approved or authorized COVID-
          19 self-collection kits or self-tests at least weekly (depending on the type of test kit
          used). Testing should be performed primarily onsite at the installation or facility with
          proper supervision and documentation of testing results. If onsite COVID-19
          screening testing is not feasible, as an alternative self-testing may be performed at
          home or in other locations. (Note: these COVID-19 self-tests do not require a health
          care provider’s clinical care order and are, therefore, considered an over-the-counter
          test and do not require medical support to complete).

          1. COVID-19 self-tests must have Instructions for Use and FDA approval, 510(k)
             premarket clearance or have an FDA EUA. These tests will be made available
             through the DLA.

          2. Funding for COVID-19 screening testing, if self-collection kits or self-tests are
             not available:

             i. Each DoD Component will reimburse Service members and DoD civilian
                employees for COVID-19 screening tests that require payment for purposes of
                meeting the screening testing requirement (e.g., if the screening test is not
                available through the DoD Component and must be administered by a facility
                who charges for the test).

            ii. For COVID-19 screening testing of DoD contractor personnel with CRA, DoD
                Components will offer, if available, COVID-19 screening testing similar to that
                offered to DoD civilian employees at the DoD Component’s expense and at no
                cost to the contractor personnel or the contractor.

       b. Establish guidance for where and how these tests will be distributed and conducted,
          and how results are to be reported.

          1. DoD civilian employees are responsible for providing documentation of negative
             COVID-19 test results, upon receipt, to the appropriate supervisor. For purposes
             of screening testing requirements, “supervisor” includes authorized human
             resources officials. DoD civilian employees may not be required to use their own
             personal equipment for the purpose of documenting test results; offsite tests may
             not be used if there is not a means to document results using Government
             equipment. The supervisor is responsible for maintaining any COVID-19 test
             results provided by DoD civilian employees in accordance with the privacy
             protection measures in section 8.



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           2. DoD contractor personnel with CRA will maintain their most recent COVID-19
              test result and show the result to authorized DoD personnel upon request.

       c. After COVID-19 screening testing procedures are established, personnel subject to
          screening testing are required to have a negative COVID-19 screening test result for
          entry into a DoD facility. DoD Components may bar DoD civilian employees who
          refuse required screening testing from their worksites on the installation or facility to
          protect the safety of others. If the COVID-19 screening test is administered offsite,
          the negative result must be from a test performed within the prior 72 hours. If a
          COVID-19 screening test is administered onsite, the test will be administered before
          DoD civilian employees and contractor personnel go to their work areas. Personnel
          who have tested positive for COVID-19 are exempted from regular screening testing
          for 90 days following the documented date of their initial positive test of COVID-19.
          Documented proof of this positive test date shall be provided upon request.

       d. DoD civilian employees and DoD contractor personnel with CRA with positive
          COVID-19 screening tests will be offered, but not required to take, FDA approved or
          authorized confirmatory laboratory-based molecular (i.e., polymerase chain reaction)
          testing paid for by the relevant DoD Component. Contact tracing and mitigation
          measures will be conducted in accordance with sections 4.4 and 5.5. If the
          confirmatory test is negative, the individual is not considered to be COVID-19
          positive and will be allowed into the workplace.

       e. For DoD civilian employees, COVID-19 screening testing is expected to take no
          more than 1 hour of regular duty time, per test, to complete required testing as
          directed by the DoD Component. Laboratory-based confirmatory COVID-19 testing
          for initial positive screening test results is expected to take no more than 2 hours of
          duty time. This includes time for travel to the testing site, time to complete testing,
          and time to return to work. Commanders and supervisors will monitor duty time
          usage and keep duty time used for testing within these parameters to the extent
          possible.

       f. A religious or medical exemption from COVID-19 vaccination is not an exemption
          from required COVID-19 screening testing. If a DoD civilian employee requires a
          religious or medical exemption from participation in COVID-19 screening tests, DoD
          Components should follow existing processes to determine if an appropriate
          flexibility or accommodation may be provided.


4.2 HEALTH SURVEILLANCE ACTIVITIES.

        To assess the threat and inform our understanding of COVID-19 transmission, DoD
Components will continue to employ existing syndromic, respiratory, and COVID-19
surveillance programs and efforts. DoD Components will continue, and expand as feasible, the
following core surveillance activities:

       x   Syndromic surveillance through the Electronic Surveillance System for Early


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               Notification of Community-based Epidemics to monitor for COVID-19-like illness.

           x   Respiratory surveillance testing of samples occurring at sites participating in the DoD
               Global Respiratory Pathogen Surveillance program for influenza-like-illness,
               including COVID-19.

           x   Surveillance for acute or febrile respiratory diseases or illnesses at initial entry
               training sites, with data collection and reporting in accordance with DoD Component
               testing plans.

           x   Clinical diagnoses of COVID-19 cases identified in military medical treatment
               facilities and reported through case-based surveillance in the Disease Reporting
               System-internet.

           x   Contact tracing of confirmed COVID-19 positive cases to infected persons in
               accordance with all applicable Federal, State, local, and DoD requirements.

           x   Continued reporting of Severe Acute Respiratory Syndrome Coronavirus 2 (SARS-
               CoV-2)/COVID-19 test results in accordance with all applicable Federal, State, local,
               and DoD requirements, and as appropriate, to respect HN guidelines.

           x   Expansion of whole genome sequencing efforts for respiratory surveillance testing
               with a focus on variants of concern17 and interest to the DoD, and cases of re-
               infection and infection in vaccinated individuals (i.e., “vaccine breakthroughs”).
               Sequencing efforts are led by the Global Emerging Infections Surveillance Program
               (dha.ncr.health-surv.mbx.promis@mail.mil).

           x   Leverage alternative technologies, such as wastewater surveillance, to supplement
               existing COVID-19 surveillance systems as a capability that provides an efficient
               pooled community sample to understand more fully the extent of COVID-19
               infections in communities.


4.3 METHODS FOR OPERATIONAL RISK REDUCTION.

           x   DoD Components may perform COVID-19 testing of asymptomatic DoD personnel
               prior to deployment or redeployment and may perform COVID-19 tests prior to start
               of Service member training, as determined appropriate by the medical staff and
               approved by the commander or supervisor, in accordance with DoD Component
               plans.

           x   DoD Components will ensure DoD personnel who are tested using a screening testing
               protocol are notified of their test results.



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     The President’s “National Strategy for the COVID-19 Response and Pandemic Preparedness,” January 21, 2021.


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       x   Symptomatic DoD personnel will be managed in accordance with current guidance.

       x   DoD Components may, in consultation with public health advisors, conduct screening
           testing of Service members to reduce risk in congregate settings, on ships, at training
           sites, during events, or in remote locations where early identification, isolation, and
           quarantine are important. Screening testing protocols may involve testing of all
           Service members prior to participation in an event (such as an exercise or training
           evolution) with or without testing during the event. Finally, screening testing may be
           performed using a surveillance protocol in which a specified percentage of randomly
           selected Service members are tested during regular intervals over a period of
           heightened vulnerability such as when case rates are very high or medical resources
           are in high demand.

       x   Voluntary testing of eligible family members, DoD civilian employees, and DoD
           contractor personnel (if appropriate and permitted in accordance with applicable
           contracts) who, if infected with COVID-19, could impact the DoD workforce and
           missions, may be conducted in support of the DoD’s effort to interrupt transmission
           of the virus among our populations. Testing will be conducted based on availability
           and managed at the DoD Component level.


4.4 COVID-19 CONTACT TRACING AND TESTING.

        DoD Components will conduct contact tracing on all COVID-19 cases identified through
testing activities. Follow-on quarantine or isolation measures and testing will be implemented as
indicated.




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                      SECTION 5: PROTECTING PERSONNEL

5.1. GENERAL MEASURES FOR PERSONNEL.

       a. Personnel should frequently wash hands with soap and water for at least 20
seconds. When soap and running water are not available, they should use an alcohol-
based hand sanitizer, with at least 60-percent ethanol or 70-percent isopropanol as active
ingredients, and rub their hands together until they are dry. In addition, personnel should
be advised to:

       x   Avoid touching their eyes, nose, or mouth with unwashed hands.
       x   Cover coughs and sneezes or cough/sneeze into the inside of elbows/upper sleeve.
       x   Avoid close contact (within 6 feet of any individual for a total of 15 minutes or more
           over a 24-hour period) with people.
       x   Stay home if sick, including “not feeling well,” or “start of a cold or allergies,” and
           similar circumstances.
       x   Recognize personal risk factors. According to the CDC, certain people, including
           older adults and those with underlying conditions such as cancer, heart or lung
           disease, chronic kidney disease requiring dialysis, liver disease, diabetes, immune
           deficiencies, or obesity, are at higher risk for developing more serious complications
           from COVID-19. See additional information on the CDC website at:
           https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-
           medical-conditions.html.
       x   Launder or replace masks regularly to promote good hygiene.
       x   To prevent the spread of COVID-19 in elevators, take the stairs when possible.
       x   Regularly disinfect surfaces commonly touched by others such as touch screens,
           mice, and desktops with an alcohol or germicidal wipe as described in section 5.8.

        b. Installations will post signage about specific measures applicable to the
installation, such as mask wearing and physical distancing requirements, and on
installation websites, as appropriate.


5.2. PHYSICAL DISTANCING.

         Supervisors will maintain at least six feet of separation between individuals in
DoD workplaces whenever possible and regardless of the CDC COVID-19 Community
Levels. Installation commanders will implement measures designed to ensure at least six
feet of separation in indoor areas whenever possible (including common areas, elevators,
stairs, and escalators) and outdoor areas which are crowded or in which personnel are
required to congregate, such as building entrances and security checkpoints.

        Supervisors will limit requirements for face to face interactions in circumstances
when physical distance cannot be maintained and will consider use of telecommunication
tools even when onsite.



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        Installation commanders will determine whether stairwells or sides of stairwells should
be designated as “up” and “down” to promote physical distancing. Installation commanders will
consider placing signs limiting the number of personnel allowed inside elevators and use floor
markings showing where personnel should stand in elevator lobbies and within elevators to
reinforce physical distancing.


5.3. MASKS.

      a. The following masking guidance applies to all DoD installations and other facilities
owned, leased, or otherwise controlled by the DoD:

           x   When the CDC COVID-19 Community Level18 is high in the county or equivalent
               jurisdiction where a DoD installation or facility is located, indoor mask-wearing is
               required for all individuals, including Service members, DoD civilian employees,
               onsite DoD contractor personnel (collectively, “DoD personnel”), and visitors,
               regardless of vaccination status.

           x   When the CDC COVID-19 Community Level is medium or low in the county where
               a DoD installation or facility is located, indoor mask-wearing is not required.

           x   Individuals may choose to wear a mask regardless of the COVID-19 Community
               Level.

           b. Exceptions to mask wearing are limited to:

               1. When an individual is alone in an office with a closed door and floor-to-ceiling
                  walls;
               2. Brief periods of time when eating and drinking while maintaining distancing and
                  in accordance with instructions from commanders and supervisors;
               3. When the mask is required to be lowered briefly for identification or security
                  purposes;
               4. When necessary as a reasonable accommodation for a person with a disability or
                  to reasonably accommodate participation in a religious service;
               5. When clear or unrestricted visualization of verbal communication is required for
                  safe and effective operations (e.g., air traffic control, emergency dispatch,
                  police/fire/emergency services);
               6. When the person who would be wearing the mask is under the age of two,
                  sleeping, unconscious, incapacitated, or otherwise unable to remove the mask
                  without assistance;
               7. When engaged in training in which mask wearing is not feasible or creates a
                  hazard, such as swim qualification, amphibious, and aquatic training events;
               8. When individuals are alone (or with members of their household or close social
                  pod) in their housing, private outdoor space, or personally owned vehicle;


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     See section 1.3 for information about CDC COVID-19 Community Levels.


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            9. When personnel are operating machinery, tools, and/or other items during the use
                of which a mask would present a safety hazard (for example, the use of a gaiter
                may be needed for flight line safety reasons);
            10. When environmental conditions are such that mask wearing presents a health and
                safety hazard (e.g., extreme elevated temperatures); and
            11. When individuals are enrolled in a respiratory protection program and are wearing
                a respirator during the performance of duties requiring respiratory protection.

        c. Case-by-case exceptions to the requirements for mask wearing as determined
at a level no lower than a general/flag officer in the grade of O-7, SES member (or
equivalent), or, for installations that do not have officials at these levels, O-6 installation
commanders.

        d. Transportation: All individuals, regardless of vaccination status, must wear a
mask on DoD transportation assets (e.g., planes, water transport, buses, trains, taxis, and
ride-shares) traveling into, within, or out of the United States, and indoor DoD
transportation hubs. Masks are not required in outdoor areas of conveyances (if such
outdoor areas exist on the conveyance) or while outdoors at transportation hubs, if these
areas are uncrowded. These requirements apply whether the DoD transportation assets
and hubs are located inside or outside the United States, but exclude ships, submarines,
aircraft, and other tactical vehicles and craft in their operational environment. Individuals
will wear a mask in Government cars, vans, or other low occupancy transportation assets
in areas where the CDC COVID-19 Community Level is high when traveling with others.
Masks are optional in areas where the CDC COVID-19 Community Level is low or
medium for all individuals if traveling in Government low occupancy transportation.

         e. Notwithstanding the above, masks must be worn by personnel working in DoD
health care facilities (including military medical, dental, and veterinary treatment
facilities) in accordance with requirements specified in 29 CFR § 1910.502 and in
accordance with OSHA and CDC guidelines. Masks will be worn by visitors and
patients to DoD military medical and dental treatment facilities except while undergoing
medical examinations or procedures that interfere with those activities.

        f. Each installation and other facility will post signage regarding mask-wearing
and physical distancing requirements. Such signage may vary as needed given local
requirements and conditions. Information about these requirements at specific
installations and other facilities should be publicly available on website(s) and regularly
communicated to all personnel.


5.4 CASE MANAGEMENT AND RESTRICTING WORKPLACE ACCESS – SERVICE
MEMBERS.

Testing of Service members:

x   Test based on clinical judgment and public health considerations.



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     o If laboratory positive: The Service member becomes a COVID-19 case and must be
       isolated.
        The Service member will stay isolated for 5 days (day 0 is the day symptoms started
            or date of specimen collection if asymptomatic).
        The Service member may leave isolation after 5 days, if no symptoms are present or
            if he/she is afebrile for more than 24 hours and any remaining symptoms are
            resolving. Mask wearing must continue for 5 days after leaving isolation when
            around others, even if mask wearing is not otherwise required by DoD guidance.
        If fever, shortness of breath, or severe fatigue start or persist, the Service member will
            stay isolated until these symptoms resolve. The Service member should be seen and
            managed by medical personnel.
        A negative test is not required to discontinue isolation due to difficulty interpreting
            persistent positive results. This is consistent with the CDC’s recommendation to
            NOT test during the 90-day period following initial diagnosis. This applies to all
            viral testing methodologies, including antigen testing.
     o If laboratory negative: The Service member should be followed to ensure he/she
       clinically improves.
        If laboratory negative and asymptomatic or clinically improved: The Service member
            has no restrictions.
        If laboratory negative and the Service member does NOT clinically improve or
            worsens, and no other etiology is found, then consider re-testing for COVID-19.

Management of Close Contacts of a Case (as determined by contact tracing):19

x    When the close contact is a Service member fully vaccinated with an FDA licensed or
     authorized COVID-19 vaccine, or a World Health Organization Emergency Use Listing
     COVID-19 vaccine, quarantine is required unless the individual has: (1) received an FDA
     licensed or authorized COVID-19 booster dose; (2) it has been less than 5 months since
     completion of the primary series with an mRNA vaccine (i.e., Pfizer-BioNTech/Comirnaty or
     Moderna/Spikevax); or (3) it has been less than 2 months since receiving a Johnson and
     Johnson COVID-19 vaccine dose as a primary vaccination. Regardless of vaccination status,
     close contacts must wear a mask around others for 10 days, even if mask wearing is not
     otherwise required by DoD guidance, and if practical, test on day 5 following exposure. If
     symptoms develop, then the individual must get tested and isolate until test results are
     complete.
x    Close contact Service members who are not fully vaccinated must quarantine for 5 days. The
     Service member should wear a mask at all times when around other individuals, regardless of
     those individuals’ vaccination status, and even if mask wearing is not otherwise required by
     DoD guidance. Testing should occur on day 5 after exposure, if practical. If no symptoms
     develop, quarantine may end after 5 days, but the Service member must continue to wear a
     mask around others for an additional 5 days (i.e., masks must be worn for a total of 10 days
     after exposure, including the time in quarantine). If any symptoms develop at any time, the
     individual should be tested for COVID-19 and advised to isolate.


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  For more information on contact tracing with respect to Service members, see:
https://www.cdc.gov/coronavirus/2019-ncov/php/contact-tracing/contact-tracing-plan/contact-tracing html.


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x    Exceptions to the above protocols for asymptomatic Service members with potential
     exposure based on close contact who are not fully vaccinated, and whose presence is required
     in the workplace, may be considered in cases of mission-essential activities that must be
     conducted on site. This exception may be granted in writing by the first general/flag officer,
     SES member, or equivalent, in the chain of command/chain of supervision or, for those
     locations that do not have general/flag officers or SES leaders, by O-6 installation
     commanders. Vaccination status of the Service member should be considered in granting an
     exception, as more risk will be assumed in granting an exception for a Service member who
     is not fully vaccinated. Service members who develop signs or symptoms consistent with
     COVID-19 during the duty period, he/she will be ordered to return to quarters and provided
     instructions for compliance with this guidance. Service members granted an exception must
     comply with the following practices for 5 days after the last exposure:
     o Obtain a COVID-19 test on calendar day 5;
     o Conduct daily pre-screening with temperature checks;
     o Wear a mask in the workplace for 10 calendar days after exposure, even if mask
         wearing is not otherwise required by DoD guidance;
     o Practice hand and cough hygiene;
     o Refrain from sharing headsets or other objects used near the face;
     o Continue to physically distance as much as possible; and
     o Clean and disinfect their workspace daily
x     In all situations, for a full 10 days after last contact with a confirmed case, Service members
      must continue to self-monitor, and practice strict adherence to all non-pharmaceutical
      intervention mitigation strategies, and, if not fully vaccinated, wear masks, avoid crowds
      and practice physical distancing, hand and cough hygiene, maintain adequate indoor
      ventilation, and perform environmental cleaning and disinfection. In addition, Service
      members located outside the United States identified as close contacts must follow host-
      nation policies, as applicable.

Testing Quarantined Individuals Who Develop Symptoms:

       Test eligible Service members in quarantine who develop symptoms commonly
associated with COVID-19.

x    If laboratory positive: The Service member becomes a case and must be isolated (see above).
x    If laboratory negative: The Service member must continue to follow procedures for
     quarantine as outlined above.

Recommendations for Testing During the Period Following Initial Diagnosis of COVID-
19:20

x    For Service members previously diagnosed with COVID-19 who remain asymptomatic after
     recovery, polymerase chain reaction retesting is not recommended within 90 days from the
     date of initial diagnosis. Furthermore, in the event of subsequent close contact with
20
  Beyond the 90-day recovery window, Service members revert to protocols for individuals who have never been
diagnosed with COVID-19.


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       confirmed COVID-19 positive individuals, additional quarantine (including any required
       post-travel quarantine) is not necessary or recommended for 90 days as long as the Service
       member remains symptom-free.
x      If Service members become symptomatic during this time frame (whether or not they are a
       close contact of a case) they must self-isolate immediately and be evaluated by a health care
       provider to determine if they may have been re-infected with SARS-CoV-2 or if symptoms
       are caused by another etiology. Isolation may be warranted during this time, particularly if
       symptoms developed within 10 days after close contact with an individual who has
       contracted COVID-19.

Aircrew Notification: In situations where a Service member is identified as a case within 72
hours after medical transport in the en route care system, local public health authorities at the
receiving MTF, or at the closest MTF if the case is transferred to a civilian medical facility, must
notify the regional Theater Patient Movement Requirements Center to initiate contact tracing and
air crew exposure procedures.

Contacts of Contacts: There is no indication to quarantine asymptomatic Service members who
are contacts of contacts; they should continue to self-monitor for symptoms.


5.5. RESTRICTING WORKPLACE ACCESS – PERSONNEL OTHER THAN SERVICE
MEMBERS

       a. Personnel other than Service members who have signs or symptoms consistent with
COVID-1921 will notify their supervisor and not come to the DoD workplace. Personnel who
develop any signs or symptoms consistent with COVID-19 during the workday must
immediately distance from other workers, put on a mask even if mask wearing is not otherwise
required by DoD guidance, notify their supervisor, and promptly leave the DoD workplace.

        b. Regardless of COVID-19 vaccination status, personnel who test positive for COVID-
19 will remain out of the workplace for 5 days. Individuals may return to the DoD workplace
after 5 days, if either: (1) they have no symptoms; or (2) if they are afebrile for more than 24
hours and any remaining symptoms are resolving. Mask wearing must continue in the workplace
for an additional 5 days, even if mask wearing otherwise is not required by DoD guidance.

        c. Personnel with potential exposure to COVID-19 based on close contact with a person
who has a laboratory confirmed, clinically diagnosed, or presumptive case of COVID-19 will
notify their supervisor.

           1. Asymptomatic personnel with potential exposure to COVID-19 based on close
contact who are: (1) not fully vaccinated; (2) are more than 5 months out from their second
mRNA vaccine dose (i.e., Pfizer-BioNTech/Comirnaty or Moderna/Spikevax) and have not
received a COVID-19 booster dose; or (3) more than 2 months out from their Johnson &
Johnson/Janssen vaccine and have not received a COVID-19 booster dose will remain out of the
workplace for 5 days. Regardless of vaccination status, asymptomatic personnel with potential

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     https://www.cdc.gov/coronavirus/2019-ncov/symptoms-testing/symptoms html.


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exposure to COVID-19 based on close contact must wear a mask in the workplace for 10 days,
even if mask wearing otherwise is not required by DoD guidance.

           2. In cases of mission-essential activities that must be conducted on site,
asymptomatic personnel with potential exposure to COVID-19 based on close contact, who
otherwise would need to remain out of the workplace, may be granted an exception to continue
to work on site provided they remain asymptomatic, do not have a positive test for COVID-19,
and comply with the following key practices for 5 days after the last exposure:

           x   Obtain a COVID-19 test on day 5;
           x   Conduct daily pre-screening with temperature checks;
           x   Wear a mask in the workplace for 10 days after exposure, even if mask wearing is
               not otherwise required by DoD guidance,
           x   Practice hand and cough hygiene;
           x   Refrain from sharing headsets or other objects used near the face;
           x   Continue to physically distance as much as possible; and
           x   Clean and disinfect their workspaces daily.

           This exception may be granted by the first general/flag officer or member of the SES,
           or equivalent, in the chain of command/chain of supervision or, for those locations
           that do not have general/flag officers or SES leaders, by O-6 installation commanders.
           If the individual develops signs or symptoms consistent with COVID-19 during the
           duty period, he/she will be sent home immediately.

          3. Personnel performing duties outside the United States will also follow applicable
geographic Combatant Commander guidance to address HN policies.



5.6. RESTRICTING WORKPLACE ACCESS – STATE AND LOCAL RESTRICTIONS

       In States and localities that require members of the general public to stay at home, DoD
Service members and civilian employees may report to work as directed to do so by a
commander or supervisor.


5.7 ISSUANCE OF MEDICAL PERSONAL PROTECTIVE EQUIPMENT.

        Medical personal protective equipment (PPE) items, such as N95 respirators, are
reserved for use in high-risk procedures and for use by those at increased risk of severe
disease, and should not be issued outside of these circumstances unless local commanders
or supervisors determine they are necessary to respect HN or local jurisdiction guidelines.
In those instances, commanders or supervisors, in consultation with public health
specialists and legal counsel, and with consideration of national or local jurisdictional
agreements, such as Status of Forces Agreements, will determine if medical PPE items
will be issued to non-medical personnel to respect such guidelines. The PPE supply must
be optimized and the below guidelines should be followed, in addition to consulting


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CDC-published strategies found at: https://www.cdc.gov/coronavirus/2019-ncov/hcp/ppe-
strategy/index.html.

        Although it is likely that expired respirators will be scarce 2 years into the pandemic,
stockpiles of new respirators may eventually pass their expiration date. N95 respirators in the
pandemic stockpiles that have exceeded their manufacturer’s recommended shelf-life and
expiration date should not be discarded. Current CDC guidance addresses this issue describing
strategies for optimizing the supply of N95 respirators in health care settings where there is a
limited supply.22 Use of expired respirators may be prioritized for situations where personnel are
not exposed to the virus that causes COVID-19, such as for training and fit testing. The
manufacturer should be contacted for additional guidance on the use of expired respirators for
any other reasons. Those responsible for ordering respirators should not do so with the idea that
expired devices can be readily re-used; rather, expired devices should be discarded as per
National Institute for Occupational Safety and Health pre-pandemic policy.


5.8 CLEANING AND DISINFECTING

        The CDC and OSHA have established enhanced cleaning and disinfection guidance for
the cleaning and disinfection of work areas, including those areas previously occupied by
workers with known or suspected COVID-19. Enhanced cleaning and disinfection should also
be performed for common use, high-touch, high-density spaces and equipment such as in
lobbies, restrooms, break areas, office elevators, and stairwells. It should also include tools and
equipment that are shared by multiple users.

        Personnel who are cleaning workspaces or conducting maintenance activities in areas
previously occupied by someone who is known or suspected to have contracted COVID-19
should wear gloves, face shields (if there is a risk of splash), disposable gowns or aprons, and
other protection as recommended on the Safety Data Sheet or EPA label of the cleaning or
disinfectant product. When using electrostatic sprayers for disinfection, personnel should wear
PPE as specified in the EPA product label. Personnel should follow all personal hygiene
requirements (e.g., handwashing, equipment doffing) after completion of work activities as
recommended by CDC guidance at: https://www.cdc.gov/coronavirus/2019-
ncov/community/disinfecting-building-facility.html and https://www .cdc.gov/niosh/docs/2012-
126/pdfs/2012-126.pdf. Segregation of such work areas prior to cleaning and disinfection is
necessary. When the cleaning and disinfection procedures described above are complete,
demarcation of areas where the individuals known or suspected to have contracted COVID-19
previously worked is not necessary.


5.9. HEATING, VENTILATION, AND AIR CONDITIONING (HVAC)

        The SARS-CoV-2 virus is transmitted mainly by large respiratory droplets, but infected
individuals generate aerosols and droplets across a large range of sizes and concentrations. There
is no need to shut down air HVAC, air handling systems, or air vents to prevent the spread of

22
     https://www.cdc.gov/coronavirus/2019-ncov/hcp/respirators-strategy/index.html


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COVID-19 within a building. Increasing indoor air movement and ventilation is a cornerstone of
COVID-19 transmission mitigation strategy. Ensure existing HVAC systems in buildings are
functioning properly, ensure the amount of outside air supplied to the HVAC system is
maximized to the extent appropriate and compatible with the HVAC systems’ capabilities, and
ensure the use of air filters that have a Minimum Efficiency Reporting Value-13 or higher filter
where the system can accommodate this type of filtration efficiency. In addition to the
requirements for existing HVAC systems, building managers should consider other measures to
improve ventilation in accordance with CDC guidance (e.g., opening windows and doors to let in
outside air) at: https://www.cdc.gov/coronavirus/2019-ncov/community/ventilation.html.


5.10. OSHA-REQUIRED ILLNESS RECORDKEEPING

        COVID-19 is a recordable occupational illness if a worker contracts the virus as a result
of performing his or her occupational duties and if all of the following conditions are met:
(1) COVID-19 illness is a confirmed case; (2) contraction of COVID-19 is work-related as
described in 29 CFR § 1904.5 (this condition will require a determination by the commander or
supervisor who may require input from the worker’s health care provider); (3) the case of illness
satisfies the requirement as a recordable illness as set forth in 29 CFR § 1904.7 (e.g., medical
treatment beyond first aid is required, the number of calendar days away from work meets the
stated threshold).23


5.11. SAFETY AUDITS, INSPECTIONS, AND TRAINING

       To ensure maximum compliance with physical distancing guidance and telework
arrangements, routine industrial hygiene and safety surveys required by DoDI 6055.05,
“Occupational and Environmental Health,” and DoDI 6055.01, “DoD Safety and
Occupational Health (SOH) Program,” may be discontinued at the discretion of the
Component’s Designated Agency Safety and Health Official, for the duration of the
pandemic or the workplace returns to HPCON 0, whichever comes sooner.

        The annual survey requirements specified in paragraph 3.8 of DoDI 6055.12,
“Hearing Conservation Program (HCP),” may be suspended by DoD Components at the
discretion of the Component’s Designated Agency Safety and Health Official during the
COVID-19 pandemic so long as there is a good faith effort to complete required services
and compliance is not otherwise possible. These requirements should resume upon the
conclusion of the pandemic or the workplace returns to HPCON 0, whichever comes
sooner.

         Spirometry can be safely performed by following the CDC guidance for increased
ventilation and regular room cleaning and disinfection, patient screening, and
implementation of single use disposable items. The guidance for pulmonary function
tests is contained in the Defense Health Agency Deputy Assistant Director for Medical
Affairs Memorandum, “Outpatient Pulmonary Function Tests (PFT) During COVID-19
23
  The reporting requirements are described in more detail in DoDI 6055.07, “Mishap Notification, Investigation,
Reporting, and Record Keeping,” and at: https://www.osha.gov/recordkeeping.


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Pandemic,” August 18, 2020, and interim technical guidance for the safe performance of
spirometry is available from the American College of Occupational and Environmental
Medicine.24


5.12. MAINTENANCE

        If workers are planning to conduct maintenance in a residence where a person who is
known or suspected to have contracted COVID-19 resides and the maintenance is necessary and
cannot be delayed, the resident should be asked to remove all items that would impede the work
of the maintenance personnel. The resident should clean the area of any dirt, debris, dust, etc.
that would impact the effectiveness of surface disinfectant used by maintenance personnel.
Workers should maintain a distance of at least 6 feet from the resident who is known to have or
suspected of having contracted COVID-19, and ask that the resident remain in a separate room
while maintenance is conducted. If a separate room for the resident is unavailable and the
worker is unable to remain 6 feet in distance from the resident during the work, appropriate
protective equipment for close contact must be worn by the worker. If necessary, clean and
disinfect the work area following the procedures for personnel protection described in section
5.8.




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  September 1, 2021. https://acoem.org/Guidance-and-Position-Statements/Guidance-and-Position-
Statements/Occupational-Spirometry-and-Fit-Testing-in-the-COVID-19-Era-2021-Interim-Recommendations-from-
the-A.


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                                SECTION 6: MEETINGS
        For any planned in-person meetings, events, and conferences (referred
collectively herein as “meetings”) sponsored by DoD with more than 50 participants in a
county or equivalent jurisdiction where the CDC COVID-19 Community Level is high,
the meeting organizer will obtain advance written approval from the DoD or Office of the
Secretary of Defense (OSD) Component head concerned to hold the meeting. The DoD
or OSD Component head concerned may delegate this authority in writing to their
Principal Deputy (or equivalent) but no lower.

       For any in-person meetings in a county or equivalent jurisdiction where the CDC
COVID-19 Community Level is high or medium, the meeting organizer will require all
attendees, including Service members and DoD civilian employees, to show a completed
DD Form 3150, “Contractor Personnel and Visitor Certification of Vaccination.”

        In-person attendees who are not fully vaccinated, or who decline to provide
information about their vaccination status, may not attend the meeting if they do not
show the meeting organizer proof of a negative FDA approved or authorized COVID-19
test completed no earlier than 72 hours prior to the meeting, and at least weekly if the
meeting is greater than one week in duration. Meetings do not include military training
and exercise events conducted by MILDEPs.




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                                   SECTION 7: TRAVEL
       This section covers official and unofficial travel and provides current pre- and post-travel
guidance for Service members, DoD family members, DoD civilian employees, and DoD
contractor personnel.

       Heads of DoD and OSD Components may implement more restrictive guidance and
additional FHP measures based on mission requirements and local risk assessments, in
consultation with their medical staffs and public health authorities.

        The Secretaries of the MILDEPs, heads of OSD Components, Commanders of the GCCs,
and the Commander, U.S. Transportation Command, may choose to exempt assigned aircrew
and aircraft maintenance recovery team members on commercial, military contracted, and
organic military aircraft from this section, to the extent permissible, consistent with applicable
legal requirements. In addition, patients and their attendants in the en-route care system are
exempt from restriction of movement (ROM) requirements and may be exempted from testing
requirements by the Theater Validating Flight Surgeon until they arrive at their final treatment
destination. Medical care will not be delayed due to ROM requirements.


7.1. GENERAL TRAVEL GUIDANCE

        Fully vaccinated individuals are not restricted from official travel, both domestic and
international. Individuals who are not fully vaccinated, or who decline to provide information
about their vaccination status, are limited to mission-critical official travel, both domestic and
international. “Mission-critical” will be determined by the traveler’s DoD or OSD Component
head, who may delegate this authority in writing to the Component’s Principal Deputy (or
equivalent) but no lower. Travel in connection with Authorized or Ordered Departures issued by
the Department of State for purposes of this FHP guidance is deemed to be “mission-critical."

        During all official travel, travelers will follow all applicable Federal, State, local, and
commercial air carrier requirements, and applicable HN requirements as a means to respect HN
law. In addition to completion of required or recommended ROM, additional requirements may
be necessary when traveling to, or from, locations outside, and within, the United States,
travelers will follow any requirements in the Electronic Foreign Clearance Guide pertaining to
entry, movement, or operations into a HN. Travelers will also refer and adhere to local updates
in HN for travel and movement within the HN.

       For travel via military airlift (contracted or organic), Aerial Point of Embarkation
(APOE) health screening is mandatory. Travelers who have a medical issue identified during
screening or who refuse to be screened at the APOE may be denied travel.

         The waiver authority available to the Secretaries of the MILDEPs, heads of OSD
Components, Chief of the National Guard Bureau, and Commanders of the GCCs for official
travel is specified in section 7.4. Travel that is limited to transit between, and through, foreign
countries contained wholly within a single GCC area of responsibility, and between GCC areas
of responsibility, is not subject to this memorandum and will be managed by each relevant GCC
or GCCs as appropriate.


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7.2 RISK ASSESSMENT PRIOR TO TRAVEL

       It is important for the appropriate commander or supervisor, assisted by medical
personnel, to complete a risk assessment for each traveler before travel, as set forth below,
including an assessment of the health status and itinerary. Specifically:

       x   For Service members, a risk assessment is required before all travel.
       x   For DoD family members, reimbursement for official travel may only occur after the
           Service members certifies, to the best of his or her knowledge, that family members
           have completed a risk assessment. DoD family members are strongly encouraged to
           complete a risk assessment before unofficial travel as well.
       x   For DoD civilian employees, a risk assessment is required before official travel. DoD
           civilian employees are strongly encouraged to complete a risk assessment before
           unofficial travel as well.
       x   For DoD contractor personnel, DoD contracting officers will ensure that all contracts
           that include performance requiring official travel outside the United States require
           DoD contractor personnel to complete a risk assessment. DoD contractor personnel
           are strongly encouraged to complete a risk assessment before unofficial travel as well.

       The risk assessment of the health status of the traveler will include, at a minimum,
determining:

       x   Whether the individual is familiar with how to self-monitor, and what actions to take,
           if he or she develops signs or symptoms consistent with COVID-19 or contracts
           COVID-19;
       x   Whether the individual has exhibited any signs or symptoms consistent with COVID-
           19 within the previous 10 days;
       x   Whether the individual has had close contact with anyone having, or known to have
           exhibited, signs or symptoms consistent with COVID-19, or who has tested positive
           for COVID-19 within the previous 10 days;
       x   Whether the individual has recently recovered from COVID-19 and, if so, when and
           if they have documentation of a positive viral test and documentation of recovery
           from a health care provider;
       x   Whether the individual is fully vaccinated or up-to-date with COVID-19 vaccines
           and, if so, when, and whether they have proof of vaccination (CDC vaccination card
           or other medical documentation);
       x   Whether the individual has traveled to a country, state, territory, county, or city with
           high or increasing risk of COVID-19 as defined by the CDC in Travel Health
           Notices;
       x   Whether the individual is at increased risk of severe illness of COVID-19 as defined
           by the CDC. Additional details can be found at:
           https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/index.html. For
           DoD civilian personnel, disclosure of this information is voluntary; and
       x   The status of community spread of COVID-19 for the travel destination.




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        In all cases, no personnel may engage in official travel if they have tested positive for
COVID-19 and have not yet met the criteria for discontinuing isolation, they are symptomatic, or
they are pending COVID-19 test results. After discontinuing isolation, personnel should avoid
official travel until 10 calendar days after their symptoms started or the date of their positive test.
If these personnel must travel on days 6 through 10, they must properly wear a well-fitting mask
when they are around others for the entire duration of travel, even if mask wearing is not
otherwise required by DoD guidance. Official travel should also be delayed if, in the past 10
days, an individual has been in close contact with someone who has tested positive for, and/or
been symptomatic of, COVID-19 and requires self-quarantine. Prior to travel, all official
travelers should be educated on how to self-monitor and what actions to take if one develops
signs or symptoms consistent with COVID-19 or contracts COVID-19.


7.3 ROM REQUIREMENTS

        a. Steps to Be Taken During ROM. During any required or recommended ROM
period, individuals will, to the fullest extent practicable:

        x   Restrict movement to their residence or other appropriate domicile25 as much as
            possible.
        x   Maintain a distance of greater than 6 feet from anyone who did not, or will not, travel
            with them, including family members or roommates; wear masks at all times around
            individuals; and employ hand washing practices in accordance with CDC guidance;
            avoid crowds; avoid the use of public transportation; and avoid close interaction with
            pets or other animals for 10 days after travel even if the ROM period is shorter than
            10 days.
        x   Consider their ROM location as their authorized duty location.
        x   Self-monitor for subjective fever (that is, feeling feverish) or actual fever (100.4°F
            or 38°C) by taking their temperature twice a day, and self-monitor for cough,
            difficulty breathing, or other COVID-19 signs and symptoms as described by the
            CDC at: https://www.cdc.gov/coronavirus/2019-ncov/symptoms-
            testing/symptoms.html. If signs or symptoms consistent with COVID-19 develop
            during the 14-day self-monitoring period, individuals will, to the fullest extent
            practicable, immediately self-isolate, limit close contact with others, and, if
            appropriate, seek advice by telephone or other authorized communication modalities
            from an appropriate healthcare provider to determine whether medical evaluation and
            testing for COVID-19 is needed.
        x   For Service members, notify their chain of command if they, or persons in their
            household, develop signs or symptoms consistent with COVID-19. Such health
            information will be used only for FHP purposes and will be protected in accordance
            with applicable laws and policy.
        x   DoD civilian employees should notify supervisors if they develop, or have had
            contact with anyone who exhibits, signs or symptoms consistent with COVID-19.
            Such health information will be used only for FHP purposes and will be protected in

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  The ROM location for Dynamic Force Employment organizations and individuals will be identified through a
case-by-case determination coordinated with the force provider and GCC.


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           accordance with applicable laws and policy.
       x   Telework when practicable per direction of their commander or supervisor.
       x   For personnel whose presence is required in the workplace by their supervisor,
           consider whether and when to return to work during the ROM period in accordance
           with section 5.

       b. Additional ROM Guidance:

       x   If ROM is conducted prior to travel, travel to and from an APOE following ROM
           completion will, to the maximum extent possible, be conducted in a manner that
           minimizes the risk of personnel being exposed to, or contracting, the virus that causes
           COVID-19 during travel.
       x   For MILDEP ships and submarines, underway time from port of
           embarkation/debarkation to port of debarkation/embarkation may be used to meet
           ROM requirements provided no cases have occurred while underway and there has
           been no contact with personnel from other vessels (e.g., resupply vessels) that would
           permit transmission.

       c. Exceptions to ROM:

       x   Pre- and post-travel ROM is not required for individuals who have fully recovered
           from a laboratory-confirmed diagnosis of COVID-19 within the previous 90 days
           prior to travel, or for individuals who are fully vaccinated. Those fully recovered and
           fully vaccinated will self-monitor for COVID-19 symptoms after travel. However,
           Service members will isolate and get tested for COVID-19 if they develop signs or
           symptoms consistent with COVID-19.
       x   ROM after arrival at the travel destination may or may not be required by the HN if
           travelers have undergone COVID-19 screening testing prior to travel. If the relevant
           GCC requires a ROM upon arrival in the country as a means of respecting HN law,
           then a pre-deployment ROM is not required. Travelers should consult the Electronic
           Foreign Clearance Guide (https://www.fcg.pentagon.mil/fcg.cfm) and check with the
           MILDEPs and GCCs for current information.


7.4 TESTING REQUIREMENTS

        a. Pre-travel, post-travel, and ROM-associated COVID-19 screening testing is authorized
for official domestic and international air travel at military medical treatment facilities on a non-
reimbursable basis for Service members, DoD civilian employees, DoD contractor employees
who are traveling for official DoD business, members of the Selected Reserve (including
members of the National Guard), and family members approved to accompany DoD personnel.
Testing is authorized for official travel on presentation of an electronic or paper copy of orders at
military medical treatment facilities.

        b. Personnel (with the exceptions to testing noted below) conducting official
international air travel will adhere to the testing indicated below and maintain proof of the



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negative test during travel. If the destination location requires a specific test or stricter test
timing, personnel must follow the destination location requirement instead, which may be
reflected in the Electronic Foreign Clearance Guide. For military flights, personnel will follow
this guidance on pre-travel testing unless operational circumstances cannot accommodate.

         x    Pre-travel viral26 testing is required 1 to 3 days prior to departure of the commercial
              or military airlift for both travel from the United States to a foreign country or from a
              foreign country to the United States.
         x    Travelers arriving in the United States without a valid negative COVID-19 test,
              vaccination, waiver, or proof of recovery from COVID-19, as required by their
              destination, will be denied entry and/or follow-on travel.
         x    Post-international travel viral testing 3 to 5 days after the completion of travel is
              recommended for active duty Service members and DoD civilian employees.

        c. Active duty Service members (with the exceptions to testing noted below) conducting
unofficial international air travel will adhere to the testing indicated below and maintain proof of
the negative test during travel. Active duty Service members are authorized to receive pre-
international and post-international travel testing.

         x    Pre-travel viral testing is recommended 1 to 3 days before departure of the
              commercial or military airlift for travel from the United States to a foreign country.
              Travelers will adhere to the destination testing requirements.
         x    Pre-travel viral testing is required 1 day before departure of the commercial or
              military airlift for travel from a foreign country to the United States.
         x    Post-international travel viral testing 3 to 5 days after the completion of travel is
              recommended for active duty Service members and DoD civilian employees.

        d. Exceptions to Testing: Unless otherwise required by a more restrictive DoD policy or
stated in the Electronic Foreign Clearance Guide:

         x    Individuals fully recovered from a laboratory-confirmed diagnosis of COVID-19
              infection within the previous 3 months are not required to undergo viral testing and
              may instead travel with documentation of recovery from COVID-19 that includes:
              o Their positive COVID-19 viral test result on a sample taken no more than 90 days
                  before the flight’s departure from a foreign country; and
              o A letter from a licensed health care provider or a public health official stating that
                  the individual is cleared to travel.
         x    Individuals who are fully vaccinated are exempt from viral testing prior to travel from
              the United States to a foreign country, unless such testing is necessary as a means of
              respecting explicit HN requirements for such testing.




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  Testing in this guidance refers to tests that utilize molecular or, in certain limited circumstances, antigen testing
methods, in accordance with the DoD Coronavirus Task Force Diagnostics and Testing Lead Memorandum,
“Optimization of Coronavirus Disease 2019 (COVID-19) Testing Resources,” March 8, 2021.


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     e. Additional guidance:

     x   “Day” for purposes of testing is a calendar day.
     x   The 1-day time frame is 1 day before the flight’s departure (e.g., if individuals subject
         to testing under this guidance are scheduled to depart a foreign country at 1:00 PM on
         a Friday, they can board the flight with a negative test that was taken any time on the
         prior Thursday).
     x   If a trip from the United States to a foreign country is shorter than 1 day, a viral test
         taken in the United States can be used if the specimen was taken no more than 1 day
         before the return flight to the United States departs.
     x   Testing requirements for connecting flights:
         o Individuals subject to testing who are connecting through the United States to
              another country must be tested for COVID-19.
         o Individuals subject to testing who have one or more connecting flights to get to
              the United States must have their COVID-19 test taken within 1 day before the
              departure of their first flight.
         o Individuals subject to testing who travel from a U.S. State or territory to another
              U.S. State or territory, but have to connect through a foreign country (e.g.,
              traveling between the Northern Mariana Islands and the U.S. mainland via Japan)
              are not required to be tested for COVID-19.
     x   Testing requirements for delayed flights:
         o Individuals subject to testing are not required to be retested for COVID-19 if their
              first flight is delayed past the 1-day limit of testing due to a situation outside of
              their control (e.g., delays because of severe weather or aircraft mechanical
              problem), and that delay is 24 hours or less past the 1-day limit for testing.
         o Individuals subject to testing are not required to be retested for COVID-19 if their
              connecting flight is delayed past the 1-day limit of testing due to a situation
              outside of their control (e.g., delays because of severe weather or aircraft
              mechanical problem), and that delay is 48 or fewer hours past the 1-day limit for
              testing.
         o Individuals subject to testing must be retested for COVID-19 if their connecting
              flight is delayed past the 1-day limit of testing due to a situation outside of their
              control (e.g., delays because of severe weather or aircraft mechanical problem),
              and that delay is more than 48 hours past the 1-day limit for testing.


7.5 SPECIFIC GUIDANCE BY TYPE OF TRAVEL

  7.5.1 Travel from the United States to a Foreign Country
  a) Official Travel
      i) Service members
         x Will conduct a travel-associated ROM as follows unless a ROM exception
             described above applies:
             o Upon arrival at the foreign country destination:
                  As a means to respect HN regulations, Service members will observe
                     applicable HN public health measures.
                  ROM will be conducted as follows:


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                      ¾ At least 10 days without testing; or, after an appropriate risk
                          assessment, the head of an OSD Component or Secretary of a
                          MILDEP may, consistent with applicable HN public health measures,
                          decrease to a ROM for 5 days with a negative viral test at the end of
                          the 5-day ROM.
                      ¾ MILDEPs maintain the authority to determine how necessary ROM
                          and movement, including the mode of transportation to final
                          destinations, are executed.
              o If it is necessary as a means to respect HN regulations to undertake a pre-
                  arrival ROM to observe applicable HN public health measures, the Service
                  member will follow the 10-day or 5-day ROM procedures described above at
                  an appropriate domicile prior to departure and complete pre-travel testing
                  within 1 to 3 days prior to departure.
              o Only one ROM is required, either before travel or after arrival.
              o Must follow all other requirements imposed by the GCC with responsibility
                  over the destination geographic area, including all applicable HN procedures
                  as a means to respect HN law, and all requirements of the Electronic Foreign
                  Clearance Guide.
     ii) DoD family members
          x Service members must attest that, to the best of their knowledge, their family
              members have followed the same requirements as those set forth for Service
              members in this guidance. Failure to do so may result in delay or cancellation of
              previously authorized travel. This attestation requirement will be incorporated
              into travel orders issued to Service members.
     iii) DoD civilian employees
          x Will conduct a travel-associated ROM and other FHP practices as described
              above for Service members.
     iv) DoD contractor personnel
          x DoD contracting officers will ensure that all contracts that include performance
              outside the United States require DoD contractor personnel to comply with the
              country entry requirements of the respective GCC (which may include screening,
              ROM, and testing), as reflected in the Electronic Foreign Clearance Guide, and all
              applicable HN procedures necessary to respect HN law. The GCC may waive
              such additional requirements, consistent with existing authorities.
    b) Unofficial Travel
     i) Service members will comply with their respective MILDEP guidance, DoD
          Component-specific guidance, and/or GCC and applicable HN procedures, as
          necessary to respect HN law, for the areas to which, and through which, they are
          traveling.
     ii) DoD family members, DoD civilian employees, and DoD contractor personnel must
          comply with the guidance and/or applicable HN procedures, as necessary to respect
          HN law, for the areas to which, and through which, they are traveling, and are
          strongly recommended to follow the FHP guidance for Service members provided
          within this document and any other DoD Component-specific guidance.




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  7.5.2. Travel From or Through a Foreign Country to the United States
  b) Official Travel
      i) Service members
           x Will conduct pre-travel screening and testing as described above, prior to
              departure. If COVID-19 infection is indicated by the screening or testing, delay
              travel and consult a health care provider for clearance to travel.
           x Will conduct a risk assessment as described in “Determining Whether to Travel”
              above upon arrival in the United States. Those who become ill, or have had close
              contact with a person known to have contracted COVID-19, during travel will
              follow the requirements in section 5 related to workplace access.
           x ROM will be conducted as follows: Unless a ROM exception described above
              applies, if traveling from or having traveled through a foreign country, the Service
              member will, upon arrival at his or her destination domicile:
              o ROM for at least 10 days without testing.
                   After an appropriate risk assessment, the head of the OSD Component or
                      Secretary of the MILDEP concerned may decrease to a ROM for 5 days
                      with a negative viral test at the end of the 5-day ROM.
                   Personnel whose presence is required in the workplace by their supervisor
                      may return to work during the ROM period in accordance with section 5.
              o For any travel-associated ROM, follow the procedures specified above in the
                  “Steps to Be Taken During ROM” section. The ROM requirements may be
                  reduced or waived by the appropriate head of an OSD Component or
                  Secretary of a MILDEP on a case-by-case basis with appropriate risk
                  assessment and mitigation measures.
              o Comply with all installation, State, and local government guidance.
              o Are recommended to get tested for COVID-19 between 3 and 5 days after
                  arrival, regardless of their vaccination status.
      ii) DoD family members will conduct pre-travel screening and testing as described
      above and are strongly recommended to follow the FHP guidance that is provided within
      this document for Service members during all travel.
      iii) DoD civilian employees and DoD contractor personnel will conduct pre-travel
      screening and testing as described above and are strongly recommended to follow the
      FHP guidance for Service members that is provided in this document during all travel.
      Any applicable requirements in section 5 must be met prior to returning to a DoD
      workplace.
  c) Unofficial Travel
      i) Service members:
           x Will conduct pre-travel testing as described above and follow pre-travel screening
              and risk assessment and ROM procedures described above in the Official Travel
              section.
           x Will comply with DoD Component-specific guidance and/or procedures of the
              GCC, including those necessary to respect HN procedures applicable to the
              countries to which, and through which, they are traveling.
           x Will conduct a risk assessment as described in “Determining Whether to Travel”
              above upon arrival in the United States. Those who become ill, or have had close
              contact with a person known to have contracted COVID-19 during travel, must


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                self-isolate (if ill) or quarantine (if exposed but not ill) and notify their chain of
                command or supervisor. Exception: Individuals fully recovered from a
                laboratory-confirmed diagnosis of COVID-19 infection within the previous 3
                months or those who are fully vaccinated are not required to quarantine as long as
                they remain symptom-free.
       ii) DoD family members may follow the FHP guidance, including pre-travel screening,
            for Service members provided within this document.
       iii) DoD civilian employees and DoD contractor personnel may follow the FHP
            guidance, including pre-travel screening for Service members provided within this
            document. Any applicable requirements in section 5 must be met prior to returning to
            a DoD workplace.

x   Travel Within the United States
    a) Official Travel
       i) Service members
            x Will comply with military installation, State, and local government travel
                restrictions.
            x Will comply with their DoD Component-specific guidance and/or procedures for
                screening, ROM, and testing, and should review and consider CDC guidance.
       ii) DoD family members are strongly recommended to follow the FHP guidance for
            Service members provided within this document during all travel.
       iii) DoD civilian employees and DoD contractor personnel will conduct pre-travel
            screening as described above and are strongly recommended to follow the guidance
            for Service members provided within this document for Service members during all
            travel. Any applicable requirements in section 5 must be met prior to returning to a
            DoD workplace.
    b) Unofficial Travel
       i) Service members
            x Should consult the COVID-19 Travel Restrictions Installation Status Update
                available at: https://www.defense.gov/explore/spotlight/coronavirus/ prior to
                travel.
            x Will comply with military installation, State, and local government travel
                restrictions.
            x Will comply with their DoD Component-specific guidance and/or procedures for
                screening, ROM, and testing.
       ii) DoD family members are strongly recommended to follow the FHP guidance for
            Service members provided within this document during all travel.
       iii) DoD civilian employees and DoD contractor personnel are strongly recommended to
            follow the guidance for Service members provided above. Any applicable
            requirements in section 5 must be met prior to returning to a DoD workplace.


7.6. ADDITIONAL GUIDANCE FOR RESERVE AND NATIONAL GUARD
PERSONNEL

       1. The Secretaries of the MILDEPs may issue any additional procedural guidance as



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        necessary for Reserve Component personnel.

     2. Reserve Component (including National Guard) personnel on official travel will
        complete any required health and ROM measures, including home-based quarantine
        or self-isolation if required, prior to the end of the official duty period.

     3. Reserve Component (including National Guard) personnel on official travel who are
        not eligible for treatment at a military medical treatment facility, or who are not
        within the established access radius around a military medical treatment facility, may
        obtain COVID-19 official travel related testing at a civilian testing site and submit for
        reimbursement on their travel voucher.

     4. For National Guard (NG) members supporting Federal Emergency Management
        Agency mission assignments or for other activities undertaken by NG personnel in a
        title 10 or title 32 duty status, the Chief of the National Guard Bureau, in coordination
        with the Secretaries of the Army and the Air Force, may issue redeployment guidance
        to the States, territories, and the District of Columbia to support mission
        requirements, while minimizing risks to NG members and local communities.
        Reserve Component personnel in support of another department or agency will
        complete any required health and ROM measures, including home-based quarantine
        or self-monitoring, prior to the end of the period of support to that other department
        or agency.


7.7. ADDITIONAL GUIDANCE TO ASSIST COMMANDERS WITH TRAVEL
DECISIONS

     1. The Department of Defense Joint Travel Regulations are available at:
        https://www.defensetravel.dod.mil/site/travelreg.cfm

     2. The DoD COVID-19 Response and Operations Platform, available at https://covid-
        status.data.mil/#/, provides travel scenarios and COVID-19 installation status and
        information to scope, plan, and approve travel by providing awareness of Health
        Protection Condition levels and COVID-19 hotspots.

     3. The Defense Health Agency’s Armed Forces Health Surveillance Division provides a
        “Trajectory of Civilian COVID-19 Cases by County” for the U.S. at the AFHSB
        COVID-19 Dashboard, available at:
        x https://go.intelink.gov/25BWvsS
        x https://covid-status.data.mil/#/

     4. Travel Restriction Installation Status Updates, available at:
        https://www.defense.gov/Explore/Spotlight/Coronavirus/

     5. COVID-19 Signs and Symptoms are available at:
        https://www.cdc.gov/coronavirus/2019-ncov/symptoms-testing/symptoms.html



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to electronic storage environments where this information is maintained. In the event the
information is maintained in paper form, supervisors and other authorized DoD personnel must
ensure DoD civilian employee medical information remains confidential and is maintained
separately from other personnel files (e.g., stored in a separate, sealed envelope marked as
confidential DoD civilian employee medical information and maintained in locked file cabinets
or a secured room). DoD Components are advised to refer to applicable internal guidance on the
handling, storage, and disposition of DoD civilian employee medical records, and to consult their
Component Privacy Officer as needed for further guidance.

        Consistent with the Religious Freedom Restoration Act of 1993, 42 U.S.C. chapter 21B,
and Title VII of the Civil Rights Act, 42 U.S.C. chapter 21, subchapter VI, individuals seeking a
religious exemption from the vaccination requirement will submit to DoD supporting
information about their religious beliefs and practices in order for DoD to evaluate the exemption
request. Information collected from individuals under this guidance supporting vaccine
exemption requests will be treated in accordance with applicable laws and policies on privacy,
including the Privacy Act of 1974 and DoDI 5400.11, “DoD Privacy and Civil Liberties
Programs,” the Rehabilitation Act of 1973, as amended (“Rehabilitation Act”), and 5 CFR part
293, subpart E. While such information may be sensitive and is to be safeguarded, it is not
covered by the Health Insurance Portability and Accountability Act (HIPAA) and the associated
HIPAA Rules.

        Information gathered under this guidance collected from DoD civilian employees related
to exemption requests may be shared with immediate supervisors, authorized human resources
officials, Decision Authorities, and, in appropriate cases, subject matter experts, who must access
the information to implement the exemption process. DoD Components are advised to consult
their Component Privacy Officer and servicing legal office if there is a need to share medical or
religious information collected under this guidance with DoD personnel beyond what this
guidance permits or with individuals outside of DoD. Religious information will be accessible
only to those persons who have a role in carrying out the exemption procedures outlined in
section 2 of this memorandum.




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                              SECTION 9: DEFINITIONS
Close contact. Close contact is defined as someone who was within 6 feet of a person who has
contracted COVID-19 for a cumulative total of 15 minutes or more over a 24-hour period
starting from 2 days before illness onset (or, for asymptomatic patients, 2 days prior to test
specimen collection) until the time the patient is isolated and irrespective of whether the person
with COVID-19 or the contact of such a person was wearing a face covering or mask or
respiratory personal protective equipment.

Family member. See the definition in 5 CFR § 630.201.

Fully vaccinated.

         An individual is considered “fully vaccinated” when at least 2 weeks have elapsed after a
second dose of a two-dose COVID-19 vaccine series (e.g., PfizerBioNTech/Comirnaty, or
Moderna/Spikevax vaccines), or 2 weeks after receiving a single dose of a one-dose COVID-19
vaccine (e.g., Johnson & Johnson’s Janssen vaccine) that are: (1) fully licensed or authorized or
approved by the FDA; (2) listed for emergency use on the World Health Organization
Emergency Use Listing (e.g., AstraZeneca/Oxford); or (3) approved for use in a clinical vaccine
trial for which vaccine efficacy has been independently confirmed (e.g., Novavax).

        An individual is “not fully vaccinated” if the individual either has not completed the full
COVID-19 vaccination dose series; or declines to provide his or her COVID-19 vaccination
status and declines to provide any requested proof of that status.

       Those with previous COVID-19 infection(s) or previous serology are not considered fully
vaccinated on that basis for the purpose of this guidance.

HPCON level. A framework to inform an installation’s population of specific health protection
actions recommended in response to an identified health threat, stratified by the scope and
severity of the health threat.

Mask. Acceptable masks are non-medical disposable masks; masks made with breathable fabric
(such as cotton); masks made with tightly woven fabric that does not let light pass through when
held up to a light source; masks with two or three layers; masks with inner filter pockets, or, on a
voluntary basis in non-medical settings, an N95-type filtering face piece. A good practice is to
wear a disposable mask underneath a cloth mask for added protection as long as this does not
interfere with breathing. Novelty or non-protective masks, masks with ventilation valves,
bandanas, and face shields are not authorized as a substitute for masks. Masks must fit snugly
around the nose and chin with no large gaps around the sides of the face.

United States. The 50 States, U.S. commonwealths, U.S. territories, and the District of
Columbia.

Up to Date. A person has received all recommended COVID-19 vaccines, including any booster
dose(s) when eligible.



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                  EXHIBIT 2




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ROUTINE
R 022045Z JUN 22 MID200001776046U
FM CNO WASHINGTON DC
TO NAVADMIN
INFO CNO WASHINGTON DC
BT
UNCLAS

NAVADMIN 130/22

PASS TO OFFICE CODES:
FM CNO WASHINGTON DC//N1//
INFO CNO WASHINGTON DC//N1//
MSGID/NAVADMIN/CNO WASHINGTON DC/N1/JUN//

SUBJ/COVID-19 DESIGNATION OF MISSION CRITICAL TRAVEL FOR UNVACCINATED
INDIVIDUALS AND UPDATED TRAVEL GUIDANCE//

REF/A/MSG/OPNAV/051532ZAPR21//
REF/B/MSG/OPNAV/131647ZJUL21//
REF/C/MEMO/USD PR/04APR22//
REF/D/MEMO/OSD/15MAR21//
REF/E/MSG/OPNAV/111536ZAPR22//
REF/F/MEMO/SECNAV/29APR22//
REF/G/MEMO/ASN MRA/03MAR22//

NARR/REF A IS NAVADMIN 073/21, NAVY MITIGATION MEASURES IN RESPONSE TO
CORONAVIRUS OUTBREAK UPDATE 7 (CONDITIONS-BASED APPROACH TO COVID-19
PERSONNEL MOVEMENT AND TRAVEL RESTRICTIONS).
REF B IS NAVADMIN 150/21, DEPARTMENT OF DEFENSE COVID-19 TESTING PRIOR TO
OVERSEAS TRAVEL (UPDATE 2).
REF C IS UNDER SECRETARY OF DEFENSE FOR PERSONNEL AND READINESS (USD(PR))
MEMO, CONSOLIDATED DEPARTMENT OF DEFENSE CORONAVIRUS DISEASE 2019 FORCE
HEALTH PROTECTION GUIDANCE.
REF D IS THE SECRETARY OF DEFENSE (SECDEF) MEMO, UPDATE TO CONDITIONS-BASED
APPROACH TO CORONAVIRUS DISEASE 2019 PERSONNEL MOVEMENT AND TRAVEL
RESTRICTIONS.
REF E IS NAVADMIN 093/22, U.S. NAVY COVID-19 STANDARDIZED OPERATIONAL
GUIDANCE 6.0.
REF F IS SECRETARY OF THE NAVY (SECNAV) MEMO, IMPLEMENTATION OF CONSOLIDATED
DEPARTMENT OF DEFENSE CORONAVIRUS DISEASE 2019 FORCE HEALTH PROTECTION
GUIDANCE.
REF G IS ASSISTANT SECRETARY OF THE NAVY (MANPOWER AND RESERVE AFFAIRS) MEMO,
DEPARTMENT OF THE NAVY GUIDANCE ON COVID-19 COMMUNITY LEVELS AND WORKPLACE
SAFETY PROTOCOLS.

RMKS/1. This NAVADMIN cancels references (a) and (b) pursuant to
the consolidated travel guidance in reference (c). This NAVADMIN
additionally provides additional guidance on mission-critical travel
for unvaccinated individuals and updates Coronavirus Disease 2019
(COVID-19) guidance for meetings.

2. Summary. Travel and personnel movement must consider COVID-19
related Force Health Protection (FHP) measures to protect the health
and safety of the force, maintain mission readiness and comply with
federal, Department of Defense (DoD), Department of the Navy (DON)
and Host Nation (HN) guidelines. Guidelines have adjusted over time



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due to the dynamic COVID-19 environment. FHP measures are now
consolidated in Under Secretary of Defense for Personnel and
Readiness (USD(PR)) guidance (reference (c)) which will be regularly
updated as guidelines change. This guidance should be frequently
referenced for the latest FHP guidance on travel and personnel
movement. Reference (c) is available at the following website and
all commands and organizations should monitor the website to ensure
they review the most current version:
https://www.defense.gov/Spotlights/Coronavirus-DOD-Response/Latest-DOD-
Guidance//.

3. Applicability.   This guidance applies to all Navy Service Members and
their dependents.

4. Travel and Personnel Movement Updated Guidance and Requirements.
The DoD conditions-based approach to COVID-19 personnel movement and
travel (reference (d)) has been rescinded with the issuance of the
consolidated guidance in reference (c). The conditions-based
approach formed the foundation of reference (a), which is cancelled
by this NAVADMIN. It remains paramount that personnel at all levels
continue to ensure appropriate FHP measures are implemented and the
risk assessment in reference (c) be completed prior to travel.
       a. Reference (c) contains detailed guidance on travel for
service members and their dependents, as well as DoD civilians and
contractors, and bases the guidance on location of travel and
whether the travel is official or unofficial. It also provides
testing and restriction of movement requirements. That guidance
should be followed unless more restrictive Navy specific guidance is
provided. The guidance in reference (b), which is cancelled by this
NAVADMIN, is replaced with the testing guidance in reference (c).
During all official travel, travelers will follow all applicable
federal, state, local and commercial air carrier requirements and
applicable HN requirements.
       b. Specific guidance for personnel movement for Navy
operational units is contained in reference (e).

5. Official travel for fully vaccinated individuals. In line with
reference (c), fully vaccinated individuals are not restricted from
official travel, both domestic and international.

6. Official travel for individuals not fully vaccinated.
Individuals who are not fully vaccinated, or who decline to provide
information about their vaccination status, are limited to only
mission-critical official travel, both domestic and international.
In any case, travel of unvaccinated individuals should be minimized.
Requests for official travel by unvaccinated personnel outside of
the following categories will be routed to the Under Secretary of
the Navy (UNSECNAV) for decision via the Chief of Naval Personnel
(CNP), the Chief of Naval Operations (CNO) and the Assistant
Secretary of the Navy for Manpower and Reserve Affairs (ASN MRA).
In line with reference (f), official travel by unvaccinated
personnel, or those who decline to provide information about their
vaccination status, is only authorized for the following mission
critical purposes:
       a. Permanent Change of Station (PCS) travel for dependents
accompanying Service Members or civilian employees who are fully
vaccinated or have a permanently approved exemption. Overseas



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screening and medical approval is still required per current
policies.
       b. PCS travel for unvaccinated Service Members reassigned
from operational units to non-deployable units. Unvaccinated
dependents of these Service Members are also authorized to travel.
       c. Travel of dependents associated with an approved early
return of dependents authorization from an overseas post or station.
       d. Government funded emergency leave travel and emergency
visitation travel.
       e. New recruits traveling to Recruit Training Command.
       f. Travel by patients, as well as their authorized escorts
and attendants, for purposes of medical treatment. Travel by
medical providers for the purposes of medical treatment for DoD
personnel and their families.
       g. Travel by Service Members and civilian personnel approved
for retirement or separation. For Service Members, travel is
authorized for purposes of taking transition leave.
       h. Travel by Service Members under the authority of a Chief
of Mission and authorized by that Chief of Mission.
       i. Travel by Service Members and civilian personnel not under
the authority of a Chief of Mission and ordered by the appropriate
DoD official to evacuate an area threatened by unusual or emergency
circumstances.
       j. Travel associated with new civilian hiring and management
directed actions to include transfers, reassignments, management
directed reassignments and new civilian accessions including formal
entry-level civilian accession programs such as government-funded
internships and fellowships.
       k. Travel by civilian employees complying with overseas tour
rotation agreement requirements.
       l. Travel in support of mission critical maintenance
operations for DON assets as well as the critical assets of other
services, agencies, and international partnerships that support the
mission of the DON. Mission critical maintenance operations are in
direct support of DON ships, submarines, aircraft, information
technology equipment and infrastructure as well as other critical
equipment not otherwise listed.
       m. Travel by Service Members from an overseas post or station
that are not eligible for involuntary extension or will surpass the
180-day limit for involuntary extension.

7.  Updated COVID-19 Guidance Related to Meetings.
     a. In line with reference (c), approval must be obtained in
advance for any planned, in-person meetings, events and conferences
sponsored by the DON with more than 50 participants (referred to
collectively herein as *meetings*, in a county or equivalent
jurisdiction where the Centers for Disease Control and Prevention
(CDC) COVID-19 Community Level is high. Approval authority is the
UNSECNAV and no lower. All organizations within the Navy will
submit requests through the respective chain of command to the
UNSECNAV for approval via ASN (MRA). To the maximum extent
practicable, requests should be submitted no later than 30 days from
the planned start of the event to allow for proper coordination and
routing.
    b. For any in-person meetings in a county or equivalent
jurisdiction where the CDC COVID-19 Community Level is high or
medium, the meeting organizer will require all attendees, including



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Service Members and DoD civilian employees, to show a completed DD
Form 3150, *Contractor Personnel and Visitor Certification of
Vaccination.* In extenuating circumstances, the UNSECNAV may
approve exceptions for attendees who are not vaccinated. These
exceptions will be requested through the respective chain of command
to the UNSECNAV for approval via ASN (MRA). Organizers of approved
meetings will require attendees to confirm proof of vaccination and,
where exceptions are granted, organizers will ensure that
unvaccinated attendees meet the testing provisions of reference (c).
All attendees will remain in compliance with the masking guidance
within reference (g).
    c. For purposes of this guidance, meetings do not include
military training, exercise events and operations. In addition,
private social events at Morale, Welfare and Recreation facilities
or events held as part of DoD Educational Activity schools functions
on naval installations do not constitute meetings.

8. It is incumbent on personnel at all levels of the Navy to take
personal ownership of continuing to effectively implement FHP
measures and ensure they are seeking out and following the latest
guidance.

9. Points of contact. Service Members with PCS questions should
contact their detailer directly or through the MyNavy Career Center.
MyNavy Career Center: 833-330-6622, askmncc(at)navy.mil.
OPNAV POC: CAPT William Shafer, william.a.shafer6.mil(at)us.navy.mil
and CAPT Chris Brianas, christopher.g.brianas.mil(at)us.navy.mil.

10.   Released by Vice Admiral John B. Nowell, Jr, N1.//

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